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     IN THE UNITED STATES DISTRICT COURT FOR THE
    NORTHERII DISTRICT OF ILLINOIS, EASTERII DIVISION
Marvin Faulkner;                                                          CIVIL-RICO ACTION
                        Plaintiff                                         WCriminal and Civil Count(s)
                   v.
                                                                          Case No-:
BRYAN GOMEZ;
ANNA M. LOFTUS;                                            1:17+rt{r4286
PIERCE & ASSOCIATES;
                                                           Judge tat0reu F- KennellY
                                                           ilag-lstrate Judge Susan E Gox
FEDERAL DEPOSIT
INSURANCE CORP;
SHOREBANK;                                                                -IVIf\\J.   J   UU\J.D
EDMOND E. CHANG
CHUHAK & TECSON, P.C.;
MICHAEL A. EURICH;
VILLA CAPITAL PROPERTIES;
GEORGE F. SCULLY JR.;
ELIZABETH LYONS;
DARRLY B. SIMKO;
CITY OF CHICAGO;
ALFRED M. SWANSON JR;
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS;
NATIONSTAR MORTGAGE, LLC;
CITIMORTGAGE, INC.;
BEAR STEARNS ASSET BACKED
SECUzuTIES I TRUST 2OO7-HE6;
FEDERAL NATIONAL MORTGAGE
ASSOCIATION;
                                                                                      FILEE)
US BANK NATIONAL ASSOCIATES;
URBAN PARTNERSHIP BANK;                                                                      JUN Z Z0ll otq
MICHAEL N. VARAK;
KOYITZ, SHIFRIN & NESBIT                                                              THoMAS G. BRUTON
                                                                                CLERK, U.S. DISTRICT COURT
LAW OFFICE;
MEREDITH FREEMAN;
PAMELA MCLEAN MEYERSON;
RAYMOND W. MITCHELL;
IRWIN J. SOLGANICK;
ALEXANDER P. WHITE;                                                                 PLAIilflFF" DEMAf,D
TIMOTHY L. ROWELL;                                                                  FON A TRIAL BY TURV
STARR, BEJGIERT, ZINK& ROWELLS;
CODILIS & ASSOCIATES;
COOK COUNTY SHERIFF'S
POLICE DEPARTMENT;
                               "   Plaintiffs Verified Complaint   -   Ovil RICO"
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SONIA PASQUESI;
SAMANTHA L. BABCOCK;
ERIK HUBBARD;
HAUSELMAN, RAPPIN &
OLSWANG, LTD;
RODERICK PIERCE;
RUSSELL P. PERDEW;
SIMON M. FENG;
SIMON FLEISCHMANN;
STEVEN R. RAPPIN;
MINE ANDREW;
TARA KENNEDY;
LOUIS J. MANETTI;
STEPHEN H. PUGH;
KATHLEEN R. PASULKA-BROWN;
PUGH, JONES & JOHNSON, P.C.;
ANTHONY E. ZECCHIN;
COOK COUNTY STATE'S
ATORNEY'S OFFICE;
SHIRLEY R. CALLOWAY;
ILLINOIS ATTORNEY
GENERAL'S OFFICE;
BRIAN R. MERFELD;
McCALLA RAYMER PIERCE, LLC.;
DEBRA BOGO-ERNST;
MICHAEL BORNHORST;
MAYER BROWN;
CHRISTOPHER L. GALLINARI;
FLAHERTY & YOUNGERMAN, P.C.;
CHRISTOPHER E. RALPH;
f,All government defendant(s) are
being sued in his/her Individual and/or
the ir Offi cial c apacity),
                             Defendant(s),

                 ,,PLAINTIFF,S     VERIF                                         ,,


1.       Now comes Plaintiff, Marvin Faulkner ("Faulkner'), pursuant to Civil-RICO

under 18 U.S.C. 51961-66 et. seq., apropos to 18 U.S.C. Section 1962(c)-Racketeer

Influenced and Corrupt Organization Act, as well as,42 U.S.C. $1983; Obstruction      of

Justice-L8 U.S. Code Section 1519 and others counts. Faulkner is complaining about the


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above captioned named Defendant(s) (Collective|y,"the Defendants) of their unlawful

and illegal acts againsr    Plaintiff Marvin Faulkner;         states the   followings:

I.          Brief Background of this Verified Complaint filinss:
1. Herein, the   Rico-Defendant(s)', as, the Rico Defendant(s) in the LINITED STATES

DISTRICT COURT         fOT thE   NORTHERN DISTRICT Of ILLNOIS, EASTERN

DIVISION of cases numbers: l:l5-cv-3i44;             1:   l6-cv-2432 and l: l7-cv-2488      $ot
attached, see the record, thereof] in the continual efforts to destroy Marvin Faulkner

aimed at Faulkner's revealing the Rico-Defendants' "Money Laundering Scheme " which

is    defrauding 100's of Millions of Dollars perpetrated by said Rico-Defendant(s)'

" Money    Laundering Scheme     "   .   Pursuant 18 U. S. Code Section I 5 I 5 Defendant(s) have

obstructed justice through: Official Proceeding; Misleading Conduct; Corruptly that the

Rico-Defendan(s) are conspiring with one another under/of criminal and civil

racketeeringactivities     Ilntimidationl Alteringi Falsif icationi Intentionally

Concealing Material Facts and Creating a False impression there                              ofl   against


Marvin Faulkner for Faulkner's revealing the Rico-Defendant(s)' unlawful and illegal

acts, aforementioned and layout here and          after. Marvin Faulkner's life has been

threatened, as well a,r, one or more violations of Faulkner's               II, IV, and XIV Amendment

Rights; Properties thief and Faulkner's reputation being greatly stained in the community.

II.                            JURISDICTION AND VENUE:

1.       This Plaintif?s Civil-Rico actions are brought pursuant to and under 18 U.S.C.

 51961 et. seq. and   l8   U.S.C. Section 1962(c) (RICO), and pursuant to sections:1952

(Racketeering); 1956(Laundering of Monetary Instruments); 1957(Property Derived for

Specified Unlawful Activity); 1344(Financial lnstitution Fraud); 1503 and 1519
                            " PlaintiffS Verified Complaint - Ovil NCO"

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(Obstruction of Justice); 1341(Mail Fraud); 1513(Retaliating against Victim(s)...).

2.      This Court has supplemental jurisdiction over Plaintiff s State Law Claims under

28 USC S 1367 as these claims are intricately related to Plaintiffs' RICO claim and other

counts and form part of the same case or controversy.

3.      This Court has jurisdiction of the claim herein pursuant to 18 USCA $1964(c) and

28 USCA S I 3 3 1. This civil action arises under the laws of the United States. Plaintiff

are alleging violations of their rights under Title   IX of the Organized Crime Control Act

of   1970, as amended, 18 USCA 551961 et seq.

4.     This action is also brought pursuant to 42 U.S.C. $1983 to redress the deprivation

under color of law of Plaintiff s rights as secured by the United States Constitution

deprivation of Faulkner's Constitutional Rights'; Federal and State Law.

5.      Although, judicial officers are accorded absolute immunity from suit for judicial

acts,'oimmunity does not reach so far as to immunize criminal conduct proscribed by an

Act of Congress," O'Shea v. Littleton, 414 U.S. 488, (1974), citing Gravel v. United

States,408 U.S. 606, (1972).

6.      The U.S. Supreme Court, in Scheuer v. Rhodes,4l6 U.S. 232,94 S. Ct. 1683,

1687 (1974) stated that: "when a state   officer acts under a State Law in a manner

violative of the Federal Constitution, he "comes into conflict with the superior authority

of that Constitution, and he is in that case stripped of his official or representative

character and is subjected in his person to the consequences     ofhis individual conduct.

The State has no power to impart to him any immunity from responsibility to the supreme

authority of the United States".

7.     18 U.S. Code Section 4 - "Whoever, having knowledge of the actual commission
                               " Plaintiff? Verified Complaint - Ovil RICO"

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of a felony cognizable by a court of the United States, conceals and does not as soon as

possible make known the same to some Judge or other person in civil or military

authority under the United States, shall be fined under this title            ...". And,
8.    Article 6, Clause 2 of the tJ.S. Constitution, as well as, Article 2, Section IV of the
                     o'...under the Authority of the United States, shall be the supreme Law
[J.5. Constitution -

of the Land; and the Judges in every State shall be bound thereby, anything in the

Constitution or Laws of any.. .".

g.    venue is proper in this district pursuant to 28 U.S.C. $1391 (e) (1) and

(2), because a substantial part of the events giving rise to this claim occurred in this

District in which one or more Defendant(s) is/are officer or employee of the United

States; or any agency thereof acting in his         fficial    capacity or under color of legal

authority; or an agency of the United States or the United States, may, except as

otherwise provided by law, be brought in any Judicial District pursuant to 28 U.S.C.

$1391 (e) (1) and(2).

10.     Venue is proper in the United States District Court for the Northern District             of

Illinois, Eastern Division pursuant to 28 U.S.C. $1391; because, the unlawful conduct

alleged herein was committed and continues to occur within the boundaries of the

Northern District of Illinois, Eastern Division. Defendant(s) have operated, and continue

to operate, an ongoing enterprise engage in"Money Laundering Scheme" which has

existed for over seven years and they operate the enterprise by a continuous, systematic

pattern of racketeering activity which has defrauded numerous by Extrinsic and Intrinsic

Fraud perpetrated against the Plaintiff and participants in this District is substantially

identical to the fraud perpetrated on the U.S. citizens.
                               " Plaintiffs Verified Complaint - Civil NCO"

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11.      Venue is proper in this court under 18 USCA $1965(a-d) and28 USCA $$1391

because:

               a.      Defendants reside, are found, have an agent, or transact his/her/its

affairs andlor works here in this District.

12.          This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C Section       l33l   and   l8   U.S.C Section 1961-66,68.

13.          This case arises under 28 U.S.C. 51332, betweenthe Plaintiff andthe

Defendant(s), through their express agent(s), have engaged in extensive and systematic

conduct in this District with the intended purpose of defrauding Plaintiff exceeding                                of

Four Million Nine Hundred Five Thousand Seven Hundred Seventy-One Dollars and

Eight-Seven Cents ($4,905,7            7   1   .87).

III.                                                      PARTIES:

        A.          PLAINTIFF:

l.      Marvin Faulkner Plaintif, is a citizen of the United                            States, and is a resident   of

the State of Illinois.

       B.        DEFENDANT(S):

1.     BRYAN GOMEZ ("Gomez"), is a served Standing De-fendant, believed to

orchestrating documents of misrepresentation to facilitate the racketeering activities is a

citizen of the United States, and is a resident of the State of Illinois. [Defendant Gomez is

being sued in his Official and/or Individual capacityJ.

A.      ANNA M. LOFTUS ("Loftus"), is a served Standing Dqfendant, (Loftus is a

Judge in the State of      Illinois who rescued herself from plaintiff s Faulkner's case(s) after

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Faulkner filed causes of her impropriety, Loftus is purported: to be one of the directors                   of

the enterprise of the "Money Laundering Scheme; of Wire fraud; is receiving unlawful

payouts and is conducting Extrinsic Fraud among many. Loftus is a citizen of the United

States, and is a resident of the State of        Illinois. [Defendant Loftus         is being sued in her

Offi cial and/or Individual c apacityJ

B.      PIERCE & ASSOCIATES ("Peirce'), is a served Standing De.fendant (Pierce is

a law   firm in the States of Illinois, Michigan, Atlanta, South Carolina... who files and

manage complaint on behalf of the Bank, for ill-gotten gains, using close relationships

with judiciaries and is actively being charged with RICO); it is an active for-profit

corporation whose is existing under and by virtue of the United States of America's laws

and laws of the State of   Illinois.

C.      FEDERAL DEPOSIT INSURANCB CORPORATION ("FDIC"), is a served

Standing De.fendant, believed to be one of the creators of "Money Laundering Scheme"

is a corporation existing under and by virtue of the laws of the United States.

D.      SHOREBANK ("SftareBank'), is a served Proximate Cause Defendant,

believed to be one of the creator of "Money Laundering Scheme" is a corporation

existing under and by virtue of the laws of the State of Illinois; State of Michigan and the

State of Ohio.

E.      EDMOND E. CHANG ("Chang"), is a served Standing Dqfendant, (Chang is a

Judge in the State of   Illinois who rescued herself from plaintiff s Faulkner's case(s) after

Faulkner filed causes of her impropriety, Loftus is purported: to be one of the directors                   of

the enterprise of the "Money Laundering Scheme; of Wire fraud; is receiving unlawful

payouts and is conducting Extrinsic Fraud among many. Loftus is a citizen of the United

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States, and is a resident of the State of      Illinois. [Defendant Loftus                is being sued in her

Offi cial and/or Individual c apacityJ     .




F.      CHUHAK & TECSON P.C., (uC&T'), is a served Standing De.fendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a corporation existing under and by virtue of the laws of the State of Illinois.

G.      MICHAEL A. EURICH (uEurich), is a served Standing De-fendant, believed to

orchestrating documents of misrepresentation to facilitate the racketeering activities is a

citizenof the United State, and is      a resident     of the State of Illinois. [Defendant Eurich is

being sued in his Official and/or Individual capacityJ.

H. VILLA        CAPITAL PROPERTIES ("VCP'), is a served Standing Dqfendant,

a corporation existing under and by virtue of the laws of the State                      of Illinois.

I.     GEORGE F. SCULLY JR. (o'Scully"), is a served Standing De-fendant, is a

citizen of the United States, and is a resident of the States of Illinois. [Defendant Scully is

being sued in his Official and/or Individual capacityJ.

J.     F.LIZABI'TH LYONS ("Lyons'), is a served Proximate Cause De.fendant,

believed to misrepresentation official business to facilitate the racketeering activities is a

citizen of the United States, and is a resident of the States of                    Illinois.   [Defendant Lyons

is being sued in her Official and/or Individual capacityJ.

K.      DARRLY B. SIMKO ("Simko'), is a served Standing Defendant, is a citizen of

the United States, and is a resident of the States of Illinois. [Defendant Simko is being

sued in his Official and/or Individual capacityJ.

L.      CITY OF CHICAGO ("CHICAGO'),is                          a served Standing De-fendant.

metropolitan; govern by the State of Illinois.

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M.     ALFRED M. SWANSON JR. ("Swanson Jr."), is a served Standing Defendant,

is a citizen of the United States, and is a resident of the States of Illinois. [Defendant

Swanson is being sued in his Official and/or Individual capacityJ.

N.     MORTGAGE ELECTRONTC REGISTRATION SYSTEMS ("MERS"), is a

served Standing De_fendant, is a corporation existing under and by virtue of the laws        of

the State of Illinois.

O.     NATIONSTAR MORTGAGE LLC. ("Nationstar'), believed to be one of the

creator of 'oMoney Laundering Scheme" is a served Standing Defendant, is a

corporation existing under and by virtue of the laws of the State of Illinois.

P.    CITIMORTGAGB,INC., ("CitiMortguge'), believed to be one of the creators

of "Money Laundering Scheme" is a served Standing Defendant, is a corporation existing

under and by virtue of the laws of the State of Illinois.

A.     BEAR STEARNS ASSET BACKED SECURITIES I TRUST 2OO7-IIE,6,

("Bear Stearns-2007-HE6'), is a served Standing Defendant, is a corporation existing

under and by virtue of the laws of the State of Illinois.

R.      FEDERAL NATIONAL MORTGAGE ASSOCIATION (UFNM'), believed

to be one of the creator of "Money Laundering Scheme" is a served Standing De.fendant,

is a corporation existing under and by virtue of the laws of the State of Illinois.

S.    US BANK      NATIONAL ASSOCIATES ("US Bank'), is a severed Standing

Defendant (US Bank is an active banking institution, a Federal Deposit Insurance

Corporation (FDIC) affiliate, in the United States during business in the States of Illinois,

Arizona, Arkansas, California, Colorado, Idaho, Indiana Nebraska, Nevada, Oregon,

Tennessee, Utah... to further the enterprise of the "Money Laundering Scheme ",        illicit

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payouts and is active within the enterprise, herein); it is an active for-profit corporation

whose principal place of business exists under and by virtue of the laws of the United

States of America and the State of         Illinois.

T.    MICHAEL N. VARAK ("Varak'); is a served Standing Dqfendant, (Varak is a

practicing attorney in the State of Illinois, employed by Pierce & Associates they both are

actively being charged with RICO; Varak is purported to being directed by Judge Loftus

and Judge Sullivan; receiving unlawful payouts and is committing                      Mail Fraud and is

active within the enterprise, herein); Varak is a citizen of the United States and resident

of the State of Illinois. [Defendant Pierce is being sued in his Official and/or Individual

capacityJ.

U.     URBAN PARTNERSHIP BANK ("UPB'), is a served Standing Defendant,

believed to be one of the creator of "Money Laundering Scheme" is a corporation exist

doing business under and by virtue of the laws of the State of Illinois; State of Michigan

and the State of Ohio.

V.      KOYITZ, SHIFRIN & NESBIT LAW OFFICE ("KS&N'), is a served

Standing De.fendant, believed to orchestrating documents of misrepresentation to

facilitate the racketeering activities is a corporation existing under and by virtue of the

laws of the State of Illinois.

W.     MEREDITH FREEMAN ("Freeman'), is a served Standing Dqfendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Freeman is being sued in his Official and/or Individual capacityJ.

X.     PAMELA MCLEAN MEYERSON ("Meyerson'), is a served Standing
                                 "   Plaintiffs Verifted Complaint   -   Ovil RICO"
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Dqfendant, is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Meyerson is being sued in her Official and/or Individual capacityJ.

Y.     RAYMOND W. MITCHELL ("Mitchell'), Standing Dqfendant, is a served

citizenof the United State, and is      a resident     of the State of Illinois. [Defendant Mitchell is

being sued in his Official and/or Individual capacityJ.

Z.     IRWIN J. SOLGANICK ("solganick'),is                         a served Standing De.fendant,is a

citizen of the United States, and is a resident of the State of             Illinois.   [Defendant

Solganick is being sued in his Official and/or Individual capacityJ.

AA.         ALEXANDER P. WHITE; ("White'), is a served Standing Defendant,is                         a


citizen of the United States, and is a resident of the State of Illinois. [Defendant White is

being sued in his Official and/or Individual capacityJ.

BB.         TIMOTHY L. ROWF,LL ("Rowell'), is a served Standing De_fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

acitizenof the United States, and is a resident of the State of Illinois. [Defendant

Rowell is being sued in his Official and/or Individual capacityJ.

CC.         STARR, BEJGIET, ZINK & ROWBLL ('SBZ&,lt'), is a served Proximate

Cause Defendant, is a corporation existing under and by virtue of the laws of the State                  of

Illinois.

DD.         CODILIS & ASSOCIATES: (uCodilis'), is a served Standing Defendant,is a

corporation existing under and by virtue of the laws of the State of Illinois.

EE.         COOK COUNTY SHERIFF'S POLICE DEPARTMENT; ("Cook County

Sheriffs"), is a served Proximate        Cause Dqfendant, is an active Governmental Law

Enforcement Agency, and is liable for and of its' employees, including, Roderick Pierce,

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who is a Standing Defendant, with the Cook County Sheriff s and is a corporation

existing under and by virtue of the laws of the State of Illinois.

FF.     SONIA PASQUESI; ("Pasquesi'), is a served Standing Defendant, believed to

orchestrating documents of misrepresentation to facilitate the racketeering activities is a

citizen of the United States, and is a resident of the State of Illinois. [Defendant Pasquesi

is being sued in his Official and/or Individual capacityJ.

GG.      SAMANTHA L. BABCOCK ("Babcock"), is a served Standing Defendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Babcock is being sued in his Official and/or Individual capacityJ.

HH.      ERIK HUBBARD ("Hubbard') is a served Standing                               De-fendant. an agent of the

Rico actors; is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Hubbard is being sued in his Official and/or Individual capacityJ.

III.   HAUSELMAN, RAPPIN & OLSWANG, LTD ("HR&O'), is a served

Standing Defendant, believed to orchestrating documents of misrepresentation to

facilitate the racketeering activities is a corporation existing under and by virtue of the

laws of the State of Illinois.

JJ.    RODERICK PIERCE ("Pierce'), is a severed Standing Defendant, Pierce

employed by the Cook County SherifPs Police Department, is an active Government

Law Enforcement Agency, who is purported to be directed by the Circuit Court Judge;

including Judge Loftus; Judge Simko; Judge Meyerson; Judge Mitchell and several other

Circuit Court Judiciaries; and is active within the enterprise, herein); Pierce is a citizen of

the United States, and is a resident of the State of             Illinois. [Defendant Pierce         is being

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sued in his Official and/or Individual capacityJ.

KK.   RUSSELL P. PERDEW ("Perdew"), is a served Standing De-fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

a citizen of the United States, and is a resident of the State of                   Illinois.   [Defendant

Perdew is being sued in his Official and/or Individual capacityJ.

LL.    SIMON M. FENG (*Fengl'), is a served Standing De.fendant, believed to

orchestrating documents of misrepresentation to facilitate the racketeering activities is

acitizenof the United States, and is a resident of the State of Illinois. [Defendant

Feng is being sued in his Official and/or Individual capacityJ.

MM.    SIMON FLEISCHMANN ("Fleischmann"), is a served Standing Dqfendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Fleischmann is being sued in his Official and/or Individual capacityJ.

NN.    STEVEN R. RAPPIN ("Rappin"), is a served Standing De.fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

a citizen of the United States, and is a resident of the State of                   Illinois.   [Defendant

Rappin is being sued in his Official and/or Individual capacityJ.

OO.    MINE ANDREW ("Andrew"), is a served Standing De.fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

a citizen of the United States, and is a resident of the State of                   Illinois.   [Defendant

Andrew is being sued in his Official and/or Individual capacityJ.

PP.     TARA KENNEDY ("Kennd1l'), is a served Standing De.fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

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a citizenof the United States, and is       a resident      of the State of          Illinois.   [Defendant

Kenndy is being sued in her Official and/or Individual capacityJ.

aa.     LOUIS J. MANETTI ("Manetti"),is a served Standing De-fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

a citizen of the United States, and is a resident of the State of                    Illinois.   [Defendant

Manetti is being sued in his Official and/or Individual capacityJ.

RR.     STEPHEN H. PUGH ("Pugh"), is a served Standing Dqfendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

acitizenof the United States, and is a resident of the State of Illinois. [Defendant

Pugh is being sued in his Official and/or Individual capacityJ.

SS.     KATHLEEN R. PASULKA-BROWN ("Pasulka-Brown"), is a served Standing

Defendant, believed to orchestrating documents of misrepresentation to facilitate the

racketeering activities is a citizen of the United States, and is a resident of the State                     of

Illinois. fDefendant Pasulka-Brown            is being sued in her Official and/or Individual

capacityJ.

TT.     PUGH, JONES & JOHNSON, P.C. (P. J & J pc.), is a served Standing

Defendant, believed to orchestrating documents of misrepresentation to facilitate the

racketeering activities is a corporation existing under and by virtue of the laws of the

State of Illinois.

UU.      ANTHONY E. ZECCHIN ("Zecchin"),                        a served Standing Dqfendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

acitizenof the United States, and is a resident of the State of Illinois. [Defendant

Zecchin is being sued in his Official and/or Individual capacityJ.

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VV.     COOK COUNTY STATE'S ATTORNEY'S OFFICE (*CCAO"), is a served

Standing De-fendant, believed to orchestrating documents of misrepresentation to

facilitate the racketeering activities is a corporation existing under and by virtue of the

laws of the State of Illinois.

WW. SHIRLEY R. CALLOWAY                     ("Ca11oway"), is a served Standing De-fendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

[Defendanf Calloway is being sued in her Official and/or Individual capacityJ.

XX. ILINOIS          ATTORNEY GENERAL'S OFFICE ("IAGO"), is a served

Standing Defendant, believed to orchestrating documents of misrepresentation to

facilitate the racketeering activities is a corporation existing under and by virtue of the

laws of the State of Illinois.

YY.    BRIAN R. MERFELD (*Merfeld'),isa                served Standing Dqfendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

a citizen of the United States, and is a resident of the State of    Illinois.   [Defendant

Merfeld is being sued in his Official and/or Individual capacityJ.

ZZ.     McCALLA RAYMER PIERCE, LLC. (*Mc RPLLc"), is a served Standing

De.fendant, believed to orchestrating documents of misrepresentation to facilitate the

racketeering activities is a citizen of the United States, and is a resident of the State     of

Illinois. [Defendant Mc RPLLc         is being sued in his Official and/or Individual capacityJ.

AAA. DEBRA BOGO-ERNST                  ("Bogo-Ernst"), is a served Standing De.fendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen orthe                                        the State orlrrinois'
                                "!';,::,;:T::;":i2j;;,:,;":;l:,#rf
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fDefendant Bogo-Ernst is being sued in her Official and/or Individual capacityJ.

BBB. MICHAEL BORNHORST ("Bornhorst"),                                    is a served Standing Defendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

[Defendant Bornhorst is being sued in his Official and/or Individual capacityJ.

CCC. MAYER BROWN ("Brown"), is a served Standing De.fendant, believed

to orchestrating documents of misrepresentation to facilitate the racketeering activities is

acitizenof the United States, and is a resident of the State of Illinois. [Defendant

Brown is being sued in her Official and/or Individual capacityJ.

DDD. CHRISTOPHER L. GALLINARI ("Gallinari"),                                     is a served Standing

De-fendant, believed to orchestrating documents of misrepresentation to facilitate the

racketeering activities is a citizen of the United States, and is a resident of the State                  of

Illinois. [Defendant Gallinari         is being sued in his Official and/or Individual capacityJ.

EEE. FLAHERTY & YOUNGERMAN,                                P.C. ("F&Y pc;'), is a served

Standing De-fendant, believed to orchestrating documents of misrepresentation to

facilitate the racketeering activities is a corporation existing under and by virtue of the

laws of the State of Illinois.

FFF.    CHRISTOPHER E. RALPH ("Ralph"), is a served Standing Defendant,

believed to orchestrating documents of misrepresentation to facilitate the racketeering

activities is a citizen of the United States, and is a resident of the State of Illinois.

fDefendant Ralph is being sued in his Official and/or Individual capacityJ.

IV.                           DEFENDANTS/AGENTS:

                                 "   Plaintitrs Verified Complaint   -   Ovil RICO"
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1.     Defendants were and are engaged in a conspiracy to defraud and each of them is

liable for the actions of the other as if they themselves had committed the acts.                  All

Defendants were acting as the agents of the others with either express or implied

authority to so act in furtherance of their common goal to operate a RICO enterprise and

all Defendants benefitted financially (ill-gotten gains) therefrom and ratified the acts of

the others. Therefore, all defendants are jointly and severally liable for the actions                   of

every other Defendant(s) committed in furtherance of the conspiracy.

2.    All Municipal Govemmental entities and/or entities, Defendant(s), herein                    (unless,

expressly, excluded by   plaintffis))   are being sued and is responsible and can be held

liable for its wrongful/illegal acts and that of its officers, directors, employees, agents,

andior shareholders and was acting "under the color of law" in the State of Illinois; of its

authority, regulations, customs, and usage's and in violation of the Constitution, Federal,

States and Local laws.

3.    All individual Defendants herein (as expressly, included by the plaintffis))                  are

being sued in their official and individual capacities and are responsible and can be held

liable for hislher wrongful acts regarding and in relation to himself/herself, hislher

employees and agents and was acting "under the color of                    lw"   in the State of Illinois; of

its authority, regulations, customs, and usage's and in violation of the Constitution,

Federal, States and Local laws.

V.                SUMMARY OF THIS VERIFIED COMPLAINT:
1.     This is a Civil-RICO complaint by Plaintiff, Marvin Faulkner alleges four counts:

(l). Rico under 18 U.S.C. 51961 et. seq. and 18 U.S.C. Section 1962(c) (RICO); (2). 18

U.S.C. 1519, Obstructionof Justice; (3). 18 U.S.C. 5242; (4).42 U.S.C. 1983 [fulfilling

                               "Plaintitrs Verified Complaint   -   Ovil RICO"
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all elements thereinl and related claims that arises in this matter atbar against the

Defendant(s). Faulkner is seeking actual damages of Five Million Seven Hundred Five

Thousand Seven Hundred Seventy-One Dollars and Eighty-Seven Cents ($5,705,771.87)

from each count against each Defendant, along with, compensatory damages; treble

damages; punitive damages that are applicable under the law.

2.     Marvin Faulkner as Plaintiff, under        a Pro Se     Complaint must be construed liberally

and is, "held to less stringent standards than formal pleadings drafted by lawyers."

Ericlrsonv. Pardus,551 U.S. 89,94,127 S.Ct.2197,2200 (2007) (citations omitted).

VI.              GERMANE FACTS, UPON RELIEF IS BEING SOUGHT:

1.     On February 19,2016, Marvin Faulkner and Samuel C. Umunna, as Plaintiffs, filed

a   Rico-Verified Complaint with Jury Demand in the UNITED STATES DISTRICT

COURT FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION case

number: l:16-cv-2432 against a mass of Defendants including: Banks; Judiciaries; Law

Firm; Lawyers and others. (See the Record).

2.     On March 06,2017, within Judge John W. Darrah's (Order) and Memorandum

Opinion and    Order,                                                          ") (In pertinent parts)   states:

"For the reasons stated in the attached memorandum opinion and order, Defendants'

Motions to Dismiss 140,48, 51,76,95, 98, 120, I23,133,154, 156, 158, 161,164,167,

l69l   and Motions to Dismiss [128] are denied without prejudice with leave to re-fiIe.

Plaintiffs' Amended Verified Complaint is dismissed without prejudice; Plaintiffs are

granted leave to amend,   if it can do so in strict compliance with the letter and spirit of

Rule 8 and pursuant to Rule 11, within thirty days of this                  Order.   Enter Memorandum


                               "   Plaintiffs Verified Complaint   -   Ovil NCO"
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Opinion and Order. Status Hearing/motion hearing set for 3l29ll7 is vacated."

3.   On March 13,2017, EXECUTIVE COMMITTEE ORDER: "Case reassigned to the

Honorable Edmond E. Chang for all further proceedings. Signed by Executive

Committee   on3ll3l20l7."    (See the Record).


4.   On March 13,2017, Judge Edmond E. Chang entered an order to addlhelp the

Rico-Defendant(s) the defeat of Marvin Faulkner in case number: l:16-cv-2432,herein.

(Attached the attached Court's Order as Exhibit    "B'\.
5.   On March 13,2017, Judge Edmond E. Chang entered an order litigating for the

defendant(s) against Marvin Faulkner, plaintiff in case number: 1:16-cv-2432, herein.

@.
6.   On March 13,2077, Judge Edmond E. Chang entered an order (In pertinent part)

Judge Edmond E. Chang have litigated for the Civil-Rico Defendants when      inl239l

(Court docket of the United States District Court Northem District of Illinois Eastern

Division case number: l6-cv-2432 (the "ECF Docket No.")) herein, attached as "Exhibit

".8" states, in pertinent parts of pages 2 and 3, that: "With the Second Amended

Complaint due no April24,2017, the answers or dismissal motions of the Defendants are

due on May 24,2017. But the anticipated dismissal motions shall be coordinated to

reduce overlapping arguments, much like multi-party appeals have one    joint brief and

then individual briefs per party only as needed. Specifically, all Defendants moving to

dismiss shall file a single, combined motion to dismiss that lists each Defendant that is

moving to dismiss and a very concise statement of the grounds. For example:

     '   CitiMortgage: no jurisdiction under Rooker-feldman; fuls to state claim under
         12(b)(6).

     '   City of Chicago; no jurisdiction under Rooker-Feldman; fails to state claim
                             "PlaintiffS Verified Complaint - Ovil RICO"
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         under 12(bX6).

         Loftus, Meyerso Mitchell, Scully, Dimko, Solganick, Swanson, White: no
         jurisdiction under ooker-Feldman; absolute judicial immunity; fails to state
          claim under 12(b 6).

And so on. In support of            combined, single motion, the defense shall file             a   joint brief

that presents arguments ad                by multiple sets of Defendants, such as Rooker-

Feldman. Each    set of De           ants also may       file an individual brief that addresses

arguments specific to           such as Rule 12(b)(6) arguments challenging the specific

allegations against the             lar Defendant (or set of Defendants)..." See attachment

Exhibit uB" 12591i                     and made apart of the             document. In   [2591

Defendant(s) answered ex            y as Judge Edmond E. Chang directed the defendant(s) to

defeat Plaintiff Marvin F             r. The Defendants answered as follows (See ExL@i!19"
titled: "DEFENDANTS'                   BINED MOTION TO DISMISS PLAINTIFFS'

SECOND AMENDED                  MPLAINT"             on pages       2,3 anda) (In pertinent parts). "The

grounds to dismiss for eac moving Defendant are identified below":

     '   The Trustee: lack f jurisdiction under Rooker -Fel dman ; claims barred by
         statute
         of limitations;   lack of private right of action.

         MERS: failure to       te a claim under Rule 12(b)(6).

         Nationstar: lack o jurisdiction under Rooker-Feldman; and failure to state a
         claim under Rule 2(b)(6).

         Fannie Mae: lack fjurisdiction under Rooker-Feldman; and failure to state
         claim under Rule 2(bx6).

         HRO: lack ofjuri       iction under Rooker-Feldman; and failure to state a claim
         under Rule 12(b)(

         Pasqeusi: lack   ofj   isdiction under Rooker-Feldman; and failure to state a claim
         under Rule 12(bX ).

                                "   PlaintiffS Verifted Complaint   - Ovil RICO"
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       City of Chicago: lack ofjurisdiction under Rooker-Feldman; and failure to state
       a claim under Rule 12(b)(6).


       Codilis & Associates, P.C: failure to state a claim under Rule 12(b)(6).

       Timothy L. Rowells: lack ofjurisdiction under Rooker-Feldman; claims barred
       by res judicota; and failure to state a claim under Rule 12(b)(6).

       Starr, Bejgiert, Zittk & Rowells: lack ofjurisdiction under Rooker-Feldman;
       claims barred by res judicata; and failure to state a claim under Rule 12(b)(6).

      FDIC-Receiver: lack ofjurisdiction under Rooker-Feldman; and lack of private
      right of action.

      Elizabeth Lyons: failure to state a claim under Rule 12(b)(6).

      Roderick Pierce: failure to state a claim under Rule l2(b)(6).

      Daniel Gronowski: failure to state a claim under Rule 12(b)(6).

      Cook County Sheriff s Department: failure to state a claim under Rule 12(b)(6).

      Anna Loftus; Pamela Meyerson; Rayrnond Mitchell; George Scully; Darryl
      Simko; Irwin Solganick; Alfred Swanson; and alexander white (the "Judicial
      Defendants"): lack ofjurisdiction under Rooker-Feldman;lack of private right
      of action; failure to state a claim under Rule 12(b)(6); absolute judicial
      immunity; and state sovereign immunity.

      Pierce & Associates: lack ofjurisdiction under Rooker-Feldman; failure to state
      a claim under Rule 12(b)(6); and res judicata.

      Freeman: lack ofjurisdiction under Rooker-Feldman; failure to state a claim
      under Rule 12(b)(6); and res judicata.

      Varak: lack ofjurisdiction under Rooker-Feldman; failure to state a claim under
      Rule 12(b)(6) and res judicata..

      citiMortgage, Inc.: lack ofjurisdiction under Rooker-Feldman; and failure to
      state a claim under Rule 12(b)(6).

       Chuhak & Tecson, P.C.; Michael Eurich; and Samantha Babcock: lack of
      jurisdiction under Rooker-Feldman; res judicata; failure to state a claim under
      Rule 12(b)(6) and Rule 8(a); and lack of private right of action.

      Urban Partnership Bank: lack ofjurisdiction under Rooker-Feldman; failure to
      state a claim under Rule 12(b)(6) and Rule 8(a); and lack of private right of
                           " Plaintiffb Verified Complaint - Ovil RICO"

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         action.

     '   Villa Capital Properties: lack ofjurisdiction under Rooker-Feldman; failure to
         state a claim under Rule 12(b)(6) and Rule 8(a); and lack of private right of
         action.

     '   Erik Hubbard: lack ofjurisdiction under Rooker-Feldman; and failure to state a
         claim under Rule 12(b)(6) and Rule 8(a); and lack of private right of action.

     '   Kovtiz Shifrin Nesbit: lack ofjurisdiction under Rooker-Feldman; and failure to
         state a claim under Rule 12(b)(6) and Rule 8(a).

     '   Bryant Gomez: lack ofjurisdiction under Rooker-Feldman; and failure to state a
         claim under Rule 12(b)(6) and Rule 8(a).

For these reasons, the Moving Defendants respectfully request threat the Court dismiss

the Second Amended Complaint in its entirety with prejudice, and grant such further

relief as the Court deems fair and just."

7.   Regarding paragraph#6, above, Defendants: BRYAN GOMEZ; URBAN

PARTNERSHIP BANK; ANNA M. LOFTUS; PIERCE & ASSOCIATES; FEDERAL

DEPOSIT INSURANCE CORPORATION; SHOREBANK; EDMOND E, CHANG;

CHUHAK & TECSON, P.C.; MICHAEL A, EURICH; VILLA CAPITAL

PROPERTIES; GEORGE F. SCULLY JR.; ELIZABETH LYONS; DARRLY B.

SIMKO; CITY OF CHICAGO; ALFRED M. SWANSON JR.; MORTGAGE

ELECTRONIC REGIS TRATION S YSTEMS ; NATIONS TAR MORTGAGE, LLC                       ;


CITIMORTGAGE, INC.; BEAR STEARNS ASSET BACKED SECURITIES I TRUST

2007-HE6; FEDERAL NATIONAL MORTGAGE ASSOCIATION; US BANK

NATIONAL ASSOCIATES; MICHAEL N. VARAK;KOYITZ, SHIFRIN & NESBIT

LAW OFFICE; MEREDITH FREEMAN; PAMELA MCLEAN MEYERSON;

RAYMOND W. MITCHELL; ALEXANDER P. WHITE; TIMOTHY L. ROWELL;

STARR, BEJGIERT, ZINK & ROWELL; CODILIS & ASSOCIATES; COOK
                      " Plaintiffb Verified Complaint - Ovil RICO"

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COI-]NTY SHERIFF,S POLICE DEPARTMENT; SONIA PASQUESI; SAMANTHA L.

BABCOCK; ERIK HUBBARD; HAUSELMAN, RAPPIN & OLSWANG, LTD,'

RODERICK PIERCE,; RUSSELL P. PERDEW; SIMON M. FENG; SIMON

FLEISCHMANN; STEVEN R. RAPPIN; MINE ANDREW; TARA KENNEDY; LOUIS

J.   MANETTI; STEPHEN H. PUGH; KATHLEEN R. PASULKA- BROWN; PUGH,

JONES & JOHNSON, P.C.; ANTHONY E. ZECCHIN; COOK COUNTY STATE'S

ATORNEY,S OFFICE; SHIRLEY R. CALLOWAY; ILLINOIS ATTORNEY

GENERAL,S OFFICE; BRIAN R. MERFELD; MoCALLA RAYMER PIERCE, LLC.;

DEBRA BOGO - ERNST; MICHAEL BORNHORST; MAYER BROWN;

CHRISTOPHER L. GALLINARI; FLAHERTY & YOUNGERMAN, P.C. and

CHRISTOPHER E. RALPH conspired together in the litigation in case number:

l:16-cv-2432, aforementioned, willfully and willingly with intentional intent,   see   Exhibit

"8"   and   Exhibit "C", herein.

8.    Judge Edmond E. Chang uses fear and intimidation by waming       Plaintifl Marvin

Faulkner was unwalranted. On several instances Judge Edmond E. Chang intimidated

Marvin Faulkner:

A-On March 13,2017 , page 2 states l239lz "The Court warns Plaintif(s), however, that

even a glance at some of the claims in the Amended Complaint reveal that they are

frivolous, such as purporting to bring civil claims under provisions of the federal

Criminal Code and asserting claims against state judge defendants who are judicially

immune."

B-On May 2612017,12731(as Exhibit *C') Order "Plaintiff(s) are warned that, in order

to set the amount of fees and costs, they must cooperate in the procedure set forth in R.
                              "Plaintiff? Verified Complaint - Ovil RICO"
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254."

C-Marvin Faulkner, herein states: "However these are serious unwarranted threats by

Judge Edmond E.     Chang. Which Faulkner              had done anything to warranted the above

Remarks/warning from Judge Edmond E. Chang. Faulkner is not sure if Judge

Edmond E. Chang is threating to        kill Faulkner         andlor have one or more of Judge

Edmond E. Chang's agents     kill Faulkner. Faulkner is not sure if                 Judge Edmond E.

Chang is threating to set up Faulkner for a crime or one or more of Judge Edmond E.

Chang's agents set up Faulkner up for a crime as Judge Anna Loftus has                    done. In case

number: 15-cv-03344 Chief Judge Ruben Castillo wamed Faulkner that to find and/or

rule against the defendants in case number: 15-cv-3344 in the United States District

Court For the northern District of Illinois will be a very dangerous and difficult thing to

do.   Through Judge Edmond E. Chang threats (herein and above) Plaintiff Marvin

Faulkner is threatened and is afraid to litigate the [Plaintiff s] material issues, herein."

9.    On May 18, 2017 Judge Edmond E. Chang Order with statement, paragraph                      #l of
Judge Edmond E. Chang Court's Order that:               "...Urban Partnership sought an order

preventing the removal, R. 128, but the motion was swept up in an order entered by the

previously assigned judge, R.      235..."      (Attached the attached Court's Order as Exhibit

'Da.      Pursuant previously assigned judge, R. 235 didnot swept up Urban Partnership

R. 128 (see exhibit "A") as Judge Edmond E. Chang stated in Exhibit "D", herein.

10.     On June 612017 Plaintiff, Marvin Faulkner, received a U. S. mailing from Samuel

C. Umunna (see attacnment as         exn             ") of   a   filed stamped copy, of a filing with and

in the United States District Court for the Northern District of Illinois, Eastern Division

stating that: "ONE OF THE PLAINTIFFS' NOTICE FOR VOLI-INTARY RELEASE

                               "   PlaintiffS Verified Complaint   -   Ovil RICO"
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OF ALL DEFENDANTS WITHOUT PREJUDICE" on the last page was/is attached as a

note from Samuel C. Umunna to Marvin that stated:                   "MARVIN, THE RICO-

DEFENDANTS IN 16 CV 2432 ANE FORCING ME TO GO AGAINST YOU,

SORRY; BUT I AM AFRAID AND WHAT EVER THEY TELL ME I HAVE TO

DO. SAM.'
11. After investigation by Marvin Faulkner, Faulkner                   found that Samuel C. Umunna

have filed two motions to releases titled (see the record               in 1 :16-cv-2432,

aforementioned): (1). On Iune2,2017 fiednoticed: "ONE OF THE PLAINTIFFS'

NOTICE FOR VOLTINTARY RELEASE OF ALL DEFENDANTS WITHOUT

PREJUDICE" and (2). On June 5, 2017 frled noticed: "ONE OF THE PLAINTIFFS',

SAMUEL C. UMUNNA, NOTICE FOR VOLLTNTARY RELEASE OF HIMSELF".

12. On May 31r2017,      Samuel C. Umunna and Marvin Faulkner filed two motions in

case number: 1:16-cv-2432,   titled (See the Record; not, attached but made                 a   part of this

complaint): (1). "PLAINTIFF'S, MARVIN FAULKNER'S AND SAMUEL C.

UMUNNA'S, MOTION TO ADD JUDGE EDMOND E. CHANG AS DEFENDANT

TO THIS FEDERAL CIVIL-RICO MATTER AT                              BAR".      (2). "PLAINTIFFS':

MARVIN FAULKNER'S AND SAMUEL C. UMTINNA'S, MOTION TO

RECUSEJUDGE EDMOND E. CHANG IN/FROM THIS MATTER AT BAR".

vII.                UNDER INFORMATION AND BELIEF:
1:     Under Information and Belief: Plaintiff, Marvin Faulkner, could/will and can

reveal under open; full and complete discovery; herein, the followings lWithin VII titled:

Under Information and beliefl:

A.                         The Master Plan of the Defendant(s).
                              "   Plaintiff? Verified Complaint   - Ovil RICO"
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l.      The"Money Laundering Scfteze":the Banks forced and/or instructed                as many


loans and mortgages to go bad: become unpaid: become breached and/or misrepresented

without consideration of the laws of the land: usine. mortqage servicers: mortgages

broker" loan officers. loan processers. underwriters and appraisers to fraudulently claim

or report that mortgages went bad or unpaid to accelerate fraudulent mortgages and

foreclosures - as a Default morteases - so that the banks may proceed in their          illicit

mortsages foreclosures loans/mortqaqes could be claimed in De.fqult" thatthe process              of

stealing properties: may begin. Thereafter, In turn, banks are ensured that the

illicit/fraudulent loans/mortgages could be launder/legitimized by the legal system that

judges, banks, law firms, attorneys and individuals would          illicitly act under color of the

law: by fraudulent hide information, misrepresent information, ignore documents

presented before the court to prolong processing that disfavors the ill-gotten gains of the

racketeering enterprise of Conspiracy and Extrinsic Fraud against its clients this ensure

that the Banks can remarket their illicit/fraudulent loans and mortgages for unlawful

profit/benefit from the revolving, flipping and controlling properties through recovering

the illicit/fraudulent loans and mortgages; receiving ill-gotten gains. This has increased

the indebtedness to the banks of the loans/mortgages in the Bank's          favor. Through

Faulkner's formally complaining against: judges, banks, law firms, attorneys and

individuals of their   illicit   acts under   color of the law and revealing the Defendants

'oMoney Laundering      Scheme". Faulkner was placed on a "Wb!" by the Defendants,

now, because of the Defendants' machinations, Faulkner's life is in danger by the

Defendant(s). That the banks are furureling unlawful pays through receivers; law firms;

donations and rawvers to the                                          support the banks' ,r-gotten
                                    liir,i;:1":I:r2::;I;: ?:;;::
                                                 Page: 26
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gams.


B.       Detailed Description of the Operation of this RICO Enterprise:

138.     The aforementioned "Money Laundering Scheme " enterprise is a simple but

intricate system, here forth, described:

a.      Banks: are making unlawful payout to law firms and others for the

accomplishments of increasing their financial bottom line, either by legal means or by

twisting legal means to a semblance, as it is legal ["By hook or by crook"].

b.      Law firms: are using lawyers; judges; politician; receivers and others by

designing legal methods by whatever means necessary; be they fair or foul, with a

resilient of legal appearance. The Law firm prepares and initiates the process as

directed by the banks [to edit, falsify, create documents, if needed, to obtain its

objectivesl.

c.      Judges: are directed to by either forced; andlor by assurance of a position to

become an appointed judge or remain as an appointed                     judge; and,lorby percentage of

their ability to foreclose or transfer profit, illegitimately or legitimately, from the public

or individuals to select private groups of individuals; including: banks; law firms;

governmental entities orland strongly backed individuals. Judges also, provides a strong

litigation for the law firms of the Plaintiffs' that banks minimize mistakes from the

assigned law firm(s) or   lawyer(s). Judges are also used for intimidation to out               siders   of
their enterprise. They provide court orders to legitimize illicit actives then it, the issue,

is launder by the legal system. Judges also interacts among other judges for the purpose

of unanimity for their racketeering and comrption of and by the actors. Judges are also

                               "   Plaintiffb Veifted Complaint   -   Ovil RICO"
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used to keep other judges in line keeping silent of the racketeering, aforementioned to be

sustained. Judges edits and instructs lawyers and law firms' legal theories and writing

to legitimize suppositions; personally or by directions.

d.        Receivers and Others: are used as needed to perform any and all necessary tasks,

at a benefit, legally or   illegally for profit of their contribution and of their act or            acts.

e.        Judge Sullivan in his       illicit plot against Marvin Faulkner with           Judge Loftus and

other has unjustly threatened Marvin Faulkner with Contempt of Court, without a cause.

C.              Fiduciary Trust between Plaintiff and Defendant(s).

139.           The Defendant(s) used Federal and State laws: i.e. FDIC; UNITED STATES

CONSTITUTION; FICA; LINIFORM COMMERCIAL CODE; and STATE LAWS that

Marvin Faulkner and others entrust that their                14th     Amendment of the Constitution of the

United State of equal protection of the law, would be preserved, focused, and/or the

principal instrument use for justice and adjudication in the court of laws would be fair

and   just.

D.                Execution of Fiduciarv Trust between Plaintiff and Defendant(s).

140.          Marvin Faulkner was summoned to court and/or instructed by Federal and State

laws to use the Court system for adjudication of any and all meritorious legal issues to the

laws of the land would be fair and just. Faulkner is a United States American citizen,

with great appreciation for this Republic and respect of the laws. Faulkner is a law

abiding human being, with a strong Love of God, who is, the creator of all things.

Faulkner is directed by the Christian bible {1.e. to do right and to stay away from doing

wrong). Faulkner, found that           some judiciaries and others, under              color qf law,are

secretly using the legal system for personal ill-gotten gains. Faulkner either made his

                                  "   Plaintiff? Verifted Complaint   -   Ovil RICO"
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appearance or filed his complaint(s); pleadings and/or filings in the                judicial system,

entrusting that U.S. Laws and State Laws would be preserved.

l4l.     Faulkner found that, secretly and deceitfully some entities are using the

established trust of the   judicial system in disregard of its purpose as set forth in this

"Plaintiff   s   Verified Complaint-Civil Rico."

VIII.        COUNT       RIC0 (Violations of RICO, Criminal and
                            I-                                                                     Civil)
  (Under 18 U.S.C. 51961 et. seq. and l8 U.S.C. Section 1962(c) and 42 U.S.C. 51983)

1.      Plaintiff, Marvin Faulkner, incorporates and restates each of all paragraphs in this

verified complaint [in reference each allegation in all seetions, paragraphs, and

sub-paragraphs] as if fully set forth herein this count.

2.   Defendants: BRYAN GOMEZ; URBAN PARTNERSHIP BANK; ANNA M.

LOFTUS; PIERCE & ASSOCIATES; FEDERAL DEPOSIT INSURANCE

CORPORATION; SHOREBANK; EDMOND E. CHANG; CHUHAK & TECSON,

P.C.; MICHAEL A. EURICH;              VILLA CAPITAL PROPERTIES; GEORGE F. SCULLY

JR.; ELIZABETH LYONS; DARRLY B. SIMKO; CITY OF CHICAGO; ALFRED M.

SWANSON JR.; MORTGAGE ELECTRONIC REGISTRATION SYSTEMS;

NATIONSTAR MORTGAGE, LLC; CITIMORTGAGE, INC.; BEAR STEARNS

ASSET BACKED SECURITIES I TRUST 2OO7-HE6; FEDERAL NATIONAL

MORTGAGE ASSOCIATION; US BANK NATIONAL ASSOCIATES; MICHAEL N.

VARAK; KOVITZ, SHIFRIN & NESBIT LAW OFFICE; MEREDITH FREEMAN;

PAMELA MCLEAN MEYERSON; RAYMOND W. MITCHELL; ALEXANDER                                                  P.

WHITE; TIMOTHY L. ROWELL; STARR, BEJGIERT, ZINK & ROWELL; CODILIS

& ASSOCIATES; COOK COTINTY SHERIFF,S POLICE DEPARTMENT; SONIA

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PASQUESI; SAMANTHA L. BABCOCK; ERIK HUBBARD; HAUSELMAN,

RAPPIN & OLSWANG, LTD,. RODERICK PIERCE; RUSSELL P. PERDEW; SIMON

M. FENG; SIMON FLEISCHMANN; STEVEN R. RAPPIN; MINE ANDREW; TARA

KENNEDY; LOUIS J. MANETTI; STEPHEN H. PUGH; KATHLEEN R. PASULKA-

BROWN; PUGH, JONES & JOHNSON, P.C.; ANTHONY E. ZECCHN; COOK

COUNTY STATE,S ATORNEY,S OFFICE; SHIRLEY R. CALLOWAY; ILLINOIS

ATTORNEY GENERAL,S OFFICE; BRIAN R. MERT.ELD; MCCALLA RAYMER

PIERCE, LLC.; DEBRA BOGO - ERNST; MICHAEL BORNHORST; MAYER

BROWN; CHRISTOPHER L. GALLINARI; FLAHERTY & YOUNGERMAN, P.C.

and CHRISTOPHER E. RALPH deprived Plaintiff of                                  Faulkner's Constitutional Rights,

as   well as, violatin g the 2"d ,   4'n   ,   5tn   and 1 4th Amendments Rights federal rights, property

interests and otherwise discriminated against Marvin Faulkner based upon the illicit acts

by the defendants: GOMEZ; UPB; LOFTUS; PIERCE; FDIC; SHOREBANK; CHANG;

C    &T; EURICH; VCP; SCULLY                         JR.; LYONS; SIMKO; CHICAGO; SWANSON JR.;

MERS; NATIONSTA& CITIMORTGAGE; BEAR STEARNS 2OO7-HE6; FNM; US

BANK; VARAK; KS& N; FRE,EMAN; MEYERSON; MITCHELL; WHITE;

ROWELL; SBZ&R; CODILIS; COOK COUNTY SHERIFF,S; PASQUESI;

BABCOCK; HUBBARD; H R & O; PIERCE; PERDEW; FENG; FLEISCHMANN;

RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH; PASULKA- BROWN; P. J & J

p.c.;ZECCHIN; CCAO; CALLOWAY; IAGO; MERFELD; Mc R P LLC.; BOGO-

ERNST; BORNHORST; BROWN; GALLNARI; F & Y p.c. and RALPH.

3.     As a direct and proximate result of defendants: GOMEZ; UPB; LOFTUS; PIERCE;

FDIC; SHOREBANK; CHANG; C&T; EURICH; VCP; SCULLY JR.; LYONS;

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SIMKO; CHICAGO; SWANSON JR.; MERS; NATIONSTAR; CITIMORTGAGE;

BEAR STEARNS 2OO7-HE6; FNM; US BANK; VARAK; KS& N; FREEMAN;

MEYERSON; MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS; COOK COUNTY

SHERIFF,S; PASQUESI; BABCOCK; HUBBARD; H R & O; PIERCE; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN;P.l & J p.c.; ZECCHIN; CCAO; CALLOWAY; IAGO;

MERFELD; Mc R P LLC.; BOGO-ERNST; BORNHORST; BROWN; GALLINARI; F

& Y p.c. and RALPH Violation of Rico [violations of Rico, 1B U.S.C. 51962[C]           Sc


violation of $18 U.S.C. 51962[D] and 42 U.S.C. $1983/, Marvin Faulkner has sustained

injuries   andl or damages.


            a.    The Plaintiff is targeted and harmed physically, by illness and

emotionally distress of the illicit plot by the Defendant(s).

            b.    The Plaintiff has suffered extreme financial damages as

aforementioned in this Verified Complaint.

            c.    The Plaintiff believe that their telephones and computers are being tap

by the Defendant(s).

                                                       FRAUD
                              CONSPIRACY TO VIOLATE RICO

   A.      Defendant(s) conduct as described above constitutes common law fraud.

Plaintiffs incorporate all allegations of fraud in their RICO claim into this claim and

hereby assert a claim for fraud and recovery of actual and punitive damages.

   A1.      Defendant(s), either directly or through their agents or as part of the overall

conspiracy as described herein misrepresented the benefits against Plaintiff.

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     A2.    These misrepresentations were made either                      willfully, or alternatively,

negligently without regard for their           truth.    The misrepresentations were intended by

Defendants to be relied on by          Plaintiff.     Defendant(s) willfully, or altematively,

negligently, prevented plaintiff Faulkner from fully understanding the truth in order to

prevent Plaintiff Faulkner from discovering the various misrepresentations and fraud, or

alternatively, negligence as alleged herein.

     ,{3.   Defendant(s) also fraudulently and intentionally concealed material facts from

Plaintiff Faulkner when defendants under color of law refuse to step forward of the

Edmond E. Chang litigation for the defendants and the defendants not revealing the cover

up committing conspiracy to defraud Faulkner in concealment by the Defendants which

calculated,   willful   and intentional and renders Defendant(s) liable to                 Plaintiff for actual

and punitive damages as though said Defendan(s) had affirmatively stated the

non-existence of the matters said Defendant(s) concealed. The acts of said Defendant(s)

as aforesaid render said Defendan(s) liable to                Plaintiff and causes of action are hereby

stated for fraudulent concealment.

     A4.    Defendants' conduct constitutes criminal and civil conspiracy thereby making

all and/or some of the Defendant(s) equally liable for the conduct of all and/or some other

Defendant(s) jointly and severally acts.

4.   As a direct and proximate result of the defendants: GOMEZ; UPB; LOFTUS;

PIERCE; FDIC; SHOREBANK; CHANG; C& T; EURICH; VCP; SCULLY JR.;

LYONS; SIMKO; CHICAGO; SWANSON JR.; MERS; NATIONSTAR;

CITIMORTGAGE; BEAR STEARNS 2OO7-HE6; FNM; US BANK; VARAK; KS& N;

FREEMAN; MEYERSON; MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS;

                                  "   Plaintiffb Verified Complaint   -   Ovil RICO"
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COOK COI-]NTY SHERIFF,S; PASQUESI; BABCOCK; HUBBARD; H R & O;

PIERCE; PERDEW; FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY;

MANETTI; PUGH; PASULKA- BROWN; P. J & J p.c.; ZECCHIN; CCAO;

CALLOWAY; IAGO; MERFELD; Mc R P LLC.; BOGO-ERNST; BORNHORST;

BROWN; GALLINARI; F & Y p.c. and RALPH violations Marvin Faulkner's

Constitutional Rights as well as, violatin g the   2"d   ,4tn, 5tn and l4th Amendments Rights    of

Marvin Faulkner has suffered severe and substantial damages. These damages include

loss of income, loss of benefits, loss of investments, diminished earnings capacity,loss         of

career and business opportunities, litigation expenses including attorney fees, loss      of

reputation, humiliation, intimidation, embarrassment, inconvenience, mental and

emotional anguish and distress and other compensatory damages, in an amount to be

determined by a jury and the Court.


            WHERE FORE,           Plaintiff is requesting in the amount of Five Million

Seven Hundred Five Thousand Seven Hundred Seventy-One Dollars and Eighty-Seven

Cents ($51705,771,.87) in actual damages.       (ro   BE DETERMINED)      in compensatory)

damages. Seventeen Million One Hundred Seventeen Thousand Three Hundred Fifteen

Dollars and Sixty-One cents ($17,117,315.61) in treble damages and Forty Million

Dollars ($40,000,000.00) in puutlwc_damgge!_; releasing Plaintiff, Marvin Faulkner from

harm by the defendant(s); attomey's fees and costs (if applicable) and any other just

remedy that this Honorable Court believes is just and in favor of the Plaintiff.

    AND,         Plaintiff prays for judgment against each Defendant(s), herein listed above

in Count I, and each of them as follows:

    1   .   For threefold the damales   act#)XXr):;f;!#;2;,"osts         of suit, in a sum not

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less than Four    Million Nine Hundred Five Thousand Seven Hundred Seventy-One

Dollars and Eight-Seven Cents 155,705,771.87], including a reasonable attorney's fee,       (if

applicable) pursuant to 18 USCA $1964 (c) and 42 U.S.C. $1983 with interest there at the

rate of Seven percent    (7%) per annum;

     2.    For such other and further relief as the Jury/Court may deem appropriate pursuant

to   18   USCA S1964 and42 U.S.C. $1983;

     3.    For such other and further relief as the Jury/Court may deem appropriate

pursuant to 18 USCA S1964 and42 U.S.C. $1983;

               C0UNT    II  Obstruction of Justice; 18 U.S. Code Section 1519-
                Destruction, Alteration, Conceal or Falsification of Records...

l.    Plaintiff Marvin Faulkner incorporates and restates each all paragraphs in this

verified complaint fin reference each allegation in all of the sections, paragraphs, and

sub-paragraphs] as    if fully   set forth herein this count.

2.    Defendants: BRYAN GOMEZ; ANNA M. LOFTUS; EDMOND E. CHANG;

MICHAEL A. EURICH; GEORGE F. SCULLY JR.; ELTZABETH LYONS; DARRLY

B. SIMKO; ALFRED M. SWANSON JR.; MICHAEL N. VARAK; MEREDITH

FREEMAN; PAMELA MCLEAN MEYERSON; RAYMOND W. MITCHELL;

ALEXANDER P. WHITE; TIMOTHY L. ROWELL; SONIA PASQUESI;

SAMANTHA L. BABCOCK; ERIK HUBBARD; RODERICK PIERCE; RUSSELL                                P.


PERDEW; SIMON M. FENG; SIMON FLEISCHMANN; STEVEN R. RAPPIN; MINE

ANDREW; TARA KENNEDY; LOUIS J. MANETTI; STEPHEN H. PUGH;

KATHLEEN R. PASULKA- BROWN; ANTHONY E, ZECCHIN; SHIRLEY R.

CALLOWAY; BRIAN R. MERFELD; McCALLA RAYMER PIERCE, LLC.; DEBRA
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BOGO - ERNST; MICHAEL BORNHORST; MAYER BROWN; CHRISTOPHER L.

GALLINARI; FLAHERTY & YOUNGERMAN, P.C. ANd CHRISTOPHER E. RALPH

deprived Plaintiff of Faulkner's Constitutional Rights, as well as, violatin g the 2nd, 4th,

5th   and 14th Amendments Rights federal rights, property interests and otherwise

defrauded against Marvin Faulkner based upon the            illicit   acts by the defendants:

GOMEZ; LOFTUS; CHANG; EURICH; SCULLY JR.; LYONS; SIMKO; SWANSON

JR.; VARAK; FREEMAN; MEYERSON; MITCHELL; WHITE; ROWELL;

PASQUESI; BABCOCK; HUBBARD; PERDEW; FENG; FLEISCHMANN; RAPPIN;

ANDREW; KENNEDY; MANETTI; PUGH; PASULKA- BROWN; ZECCHIN;

CALLOWAY; MEMELD; BOGO-ERNST; BORNHORST; BROWN; GALLINARI

and RALPH.

3.     As a direct and proximate result of GOMEZ; LOFTUS; CHANG; EURICH;

SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK; HUBBARD; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN; ZECCHN; CALLOWAY; MERFELD; BOGO-ERNST;

BORNHORST; BROWN; GALLINARI and RALPH. Concealments; Cover up and

Intimidation against Marvin Faulkner has sustained injuries andlor damages.

            a.   The Plaintiff is targeted and harmed physically, by illness and

emotionally distress of the illicit plot by the Defendant(s).

            b.   The Plaintiff have suffered extreme financial damages as

aforementioned in thrs " Ver ifi e d   C ompl   aint"   .



            c.    The Plaintiff believe that their telephones and computers are being tap
                                'Plaintiffg Verifted Complaint - Ovil RICO"
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by the Defendant(s).

4.   That continually from the period of 2008 and2017 of this "Verified Complaint"

Defendant(s), as a result that, the Plaintiff exercised his constitutional, State and local

rights to defend himself and his properties against the comrptions of the Defendants, as

aforementioned.

5.   The Defendant(s), herein, both directly and indirectly, individually and through its

agents, servants and employees, herein in this Count     XI $1986 Conspiracy; Cover up and

Falsification ignoring their known of should know duties in this regard, under the color

of law, carelessly and prior thereto, caused and permitted said harm to become and

remain against the Plaintiff Faulkner.

6.   That during the period of 2008 thru20l7 of this "Verified Complaint" Plaintiff filed

complaint with the FBI, the Judicial Board, to the Circuit of Cook County, the United

States   District Court for the Northern District of Illinois, Eastern Division for protection

against the Plaintiffs from the defendants on many occasions, Plaintiff had warned the

Defendant(s) of their harm, to the Plaintiffs.

7.   That the Defendant(s) by its servants, agents and employees was then and there

guilty of one or more of the following harms, negligent acts and/or omissions:

     a).     Plaintiff directly of effect by the aforementioned Destruction, Alteration,

Conceal or Falsification of Records.

     b).     Defendant(s) threaten and is threatening Plaintiff liberty, lives and enjoyment

of life aiming to hurt or embed fear in the Plaintiff for his legal litigations.

8.   That by reason of the set forth in this "Verified Complaint" of paragraphs, above as a

resurt orthe aroresaid   intentionffif:;;:Jr:;;i*::li;il:ne          said Derendants, as a

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result that, Plaintiff, Marvin Faulkner, was caused to suffer divers temporary and

permanent fear and harm to their way of life, bodies, financial depletion, their reputation,

their ability of life, liberty and the pursuant of happiness. Plaintiff has been and will be

prevented from attending to their usual affairs and duties and has lost and      will continue to

lose great gains they would otherwise has acquired.

9.   The Defendants knowingly alters, destroys, mutilates, conceals, covers up, falsifies,

or makes a false entry in any record, document, or tangible object with the intent to

impede, obstruct, or influence the investigation or proper administration of any matter

within the jurisdiction of any department. . ., aforementioned.

10.   As a direct and proximate result of the GOMEZ; LOFTUS; CHANG; EURICH;

SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK; HUBBARD; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN; ZECCHIN; CALLOWAY; MEMELD; BOGO-ERNST;

BORNHORST; BROWN; GALLINARI and RALPH. Violations of Marvin Faulkner

constitutional rights, Marvin Faulkner has suffered severe and substantial damages.

These damages include loss of income, loss of benefits, loss of investments, diminished

earnings capacrty,loss of career and business opportunities, litigation expenses including

attorney fees, loss of reputation, humiliation, intimidation, cover up embarrassment,

inconvenience, mental and emotional anguish and distress and other compensatory

damages, in an amount to be determined by              a   jury and the Court.

           WHEREFORE,                  Plaintiff is requesting against the Defendant(s) and in


                              "   Plaintiff's Verified Complaint   - Ovil NCO"
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Favor of the Plaintiffs in the amount of Five Million Seven Hundred Five Thousand

Seven Hundred Seventy-One Dollars and Eighty-Seven Cents ($5,705,771.87) in actual

damaqes. (ro rn DETERMINED) in compensatorJt damages. Seventeen Million One

Hundred Seventeen Thousand Three Hundred Fifteen Dollars and Sixty-One cents

($17,117,315.61) in rreble damages and Forty Million Dollars ($40,000,000.00) in

punitive damaqes,' releasing Plaintiff, Marvin Faulkner from harm by the defendant(s);

attorney's fees and costs (if applicable) and any other just remedy that this Honorable

Court believes is just and in favor of the Plaintiff.

                             couNT          III - 18 U. S. C s 242
              Violation of         Plaintiffs'            Federal and Legal Rishts of
          "Article 6, Clause 2 and Article 2, Section IV of the U.S. Constitution"

1.   Plaintiff Marvin Faulkner incorporates and restates each paragraphs in this verified

complaint [in reference each allegation in all of the sections, paragraphs, and sub-

paragraphsl as if fully set forth herein this count.

2,   BRYAN GOMEZ; ANNA M. LOFTUS; EDMOND E. CHANG; MICHAEL A.

EURICH; GEORGE F. SCULLY JR.; ELIZABETH LYONS; DARRLY B. SIMKO;

ALFRED M. SWANSON JR.; MICHAEL N. VARAK; MEREDITH FREEMAN;

PAMELA MCLEAN MEYERSON; RAYMOND W. MITCHELL; ALEXANDER                                  P.


WHITE; TIMOTHY L. ROWELL; SONIA PASQUESI; SAMANTHA L. BABCOCK;

ERIK HUBBARD; RODERICK PIERCE; RUSSELL P. PERDEW; SIMON M. FENG;

SIMON FLEISCHMANN; STEVEN R. RAPPIN; MINE ANDREW; TARA

KENNEDY; LOUIS J. MANETTI; STEPHEN H. PUGH; KATHLEEN R. PASULKA.

BROWN; PUGH, JONES & JOHNSON, P.C.; ANTHONY E. ZECCHIN; SHIRLEY R.

CALLOWAY; BRIAN R. MERFELD; DEBRA BOGO - ERNST; MICHAEL
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BORNHORST; MAYER BROWN; CHRISTOPHER L. GALLINARI; and

CHRISTOPHER E. RALPH have acted under the color of law when GOMEZ; LOFTUS;

CHANG; EURICH; SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK;

FREEMAN; MEYERSON; MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK;

HUBBARD; PERDEW; FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY;

MANETTI; PUGH; PASULKA- BROWN; ZECCHIN; CALLOWAY; MERFELD;

BOGO-ERNST; BORNHORST; BROWN; GALLINARI and RALPH deprived Plaintiff

of Faulkner's Constitutional Rights, as well as, violatingthe2"d,4tn, 5* and    14th


Amendments Rights federal rights, property interests and otherwise discriminated against

Marvin Faulkner based upon the illicit acts by: GOMEZ; LOFTUS; CHANG; EURICH;

SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK; HUBBARD; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN; ZECCHIN; CALLOWAY; MEMELD; BOGO-ERNST;

BORNHORST; BROWN; GALLINARI and RALPH.

3.   As a direct and proximate result of GOMEZ; LOFTUS; CHANG; EURICH;

SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK; HUBBARD; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN; ZECCHIN; CALLOWAY; MEMELD; BOGO-ERNST;

BORNHORST; BROWN; GALLINARI and              RALPH. Violation of l8     U.S.C. 5242,

Marvin Faulkner has sustained injuries andlor damages.

         a.   The Plaintiff is targeted and harmed physically, by illness and
                               PlaintiffE Verified Complaint - Civil RICO"
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emotionally distress of the illicit plot by the Defendant(s).

            b.   The Plaintiff have suffered extreme financial damages as

aforementioned in this "Verffied Complaint".

            c.    The Plaintiff believe that their telephones and computers are being tap

by the Defendant(s).

4.   That continually from the period of 2008 and20l7 of this "Verified Complaint"

Defendant(s), as a result that, the Plaintiff exercised their constitutional, State and local

rights to defend themselves and their properties against comrption against the

Defendant(s), as aforementioned.

5.   The Defendant(s), herein, both directly and indirectly, individually and through its

agents, servants and employees, herein in this Count     XI $1986 Conspiracy well knowing

its duty in this regard, under the color of law, carelessly and prior thereto, caused and

permiued said harm to become and remain against the Plaintiffs.

6.   That during the period of 2008 tluu2017 of this "Verified Complaint" Plaintiff filed

complaints with the FBI, the Judicial Board, to the Circuit of Cook County, the United

States   District Court for the Northern District of Illinois, Eastern Division for protection

against the   Plaintiff from the Defendant(s) on many occasion, Plaintiff had wamed the

Defendant(s) their harm to the Plaintiff.

7.   That the Defendant(s) by its servants, agents and employees was then and there

guilty of one or more of the following harms, negligent acts andlor omissions:

     a).    Defendant(s) acts towards/to the Plaintiff due to the Plaintiff color andlor

race being: African American is Unconstitutional under United States Laws.

     b)'     Praintirr ras Anna                                        I'm going to enjov
                                  Y;":;;:T";;':,:';:;'2:;'r,Npger'
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destroying you!!!" on February 03, 2015] is being punished for being African American.

8.    That by reason of the set forth in the "Verified Complaint" of paragraphs set forth

above as a result of the aforesaid intention and directly or indirectly, of the said

Defendants, as a result that Plaintiff, Marvin Faulkner, was caused to suffer divers

temporary and permanent fear and harm to their way of life, bodies, financial depletion,

their reputation, their ability of life, liberty and the pursuant of happiness. Plaintiff has

been and   will   be prevented from attending to their usual affairs and duties and has lost

and   will continue to lose great gains they would otherwise have made and acquired.

9.    As a direct and proximate result of the GOMEZ; LOFTUS; CHANG; EURICH;

SCULLY JR.; LYONS; SIMKO; SWANSON JR.; VARAK; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; PASQUESI; BABCOCK; HUBBARD; PERDEW;

FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH;

PASULKA- BROWN; ZECCHN; CALLOWAY; MERFELD; BOGO.ERNST;

BORNHORST; BROWN; GALLINARI and RALPH. Violations of Marvin Faulkner

Constitutional rights, Marvin Faulkner has suffered severe and substantial damages.

These damages include loss of income, loss of benefits, loss of investments,

diminished eamings capacity,loss of career and business opportunities, litigation

expenses including attorney fees, loss of reputation, humiliation, intimidation,

embarrassment, inconvenience, mental and emotional anguish and distress and other

compensatory damages, in an amount to be determined by                        a   jury   and the Court.


          ItrHEREFORE,               Plaintiff is requesting against the Defendant(s) and in

Favor of the Plaintiff in the amount of Five Million Seven Hundred Five Thousand Seven


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Hundred Seventy-One Dollars and Eighty-Seven Cents ($5,705,771.87) in actual

damaqes. (ro nn DETERMINTn) in compensatorv damages. Seventeen Million One

Hundred Seventeen Thousand Three Hundred Fifteen Dollars and Sixty-One cents

($17,117,315.61) in rreble damases and Forty Million Dollars ($40,000'000.00) in

punitive damages,' releasing Plaintiffs, Marvin Faulkner from

harm by the defendant(s); attorney's fees and costs (if applicable) and any other just

remedy that this Honorable Court believes is just and in favor of the Plaintiffs.

                                IV _ 42 U. S. C. S 1983
                            COUNT
                Violation of Plaintiff' s Federal and Legal Riehts
l.   Plaintiff, Marvin Faulkner incorporates and restates each of the paragraphs in this

verified complaint [in reference each allegation in all of the sections, paragraphs, and

sub-paragraphs] as if fully set forth herein this count.

2.   BRYAN GOMEZ; URBAN PARTNERSHIP BANK; ANNA M. LOFTUS;

PIERCE & ASSOCIATES; FEDERAL DEPOSIT INSURANCE CORPORATION;

SHOREBANK; EDMOND E. CHANG; CHUHAK & TECSON, P.C.; MICHAEL A.

EURICH; VILLA CAPITAL PROPERTIES; GEORGE F. SCULLY JR.; ELIZABETH

LYONS; DARRLY B. SIMKO; CITY OF CHICAGO; ALFRED M. SWANSON JR.;

MORTGAGE ELECTRONIC REGI STRATION SYSTEMS ; NATIONSTAR

MORTGAGE, LLC; CITIMORTGAGE, INC.; BEAR STEARNS ASSET BACKED

SECURITIES I TRUST 2OO7-HE6; FEDERAL NATIONAL MORTGAGE

ASSOCIATION; US BANK NATIONAL ASSOCIATES; MICHAEL N. VARAK;

KOVITZ, SHIFRIN & NESBIT LAW OFFICE; MEREDITH FREEMAN; PAMELA

MCLEAN MEYERSON; RAYMOND W. MITCHELL; ALEXANDER P. WHITE;

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TIMOTHY L. ROWELL; STARR, BEJGIE,RT, ZINK & ROWELL; CODILIS &

ASSOCIATES; COOK COUNTY SHERIFF,S POLICE DEPARTMENT; SONIA

PASQUESI; SAMANTHA L. BABCOCK; ERIK HUBBARD; HAUSELMAN,

RAPPIN & OLSWANG, LTD,. RODERICK PIERCE; RUSSELL P. PERDEW; SIMON

M. FENG; SIMON FLEISCHMANN; STEVEN R. RAPPIN; MINE ANDREW; TARA

KENNEDY; LOUIS J. MANETTI; STEPHEN H. PUGH; KATHLEEN R. PASULKA-

BROWN; PUGH, JONES & JOHNSON, P.C.; ANTHONY E. ZECCHIN; COOK

COI.INTY STATE,S ATORNEY,S OFFICE; SHIRLEY R. CALLOWAY; ILLINOIS

ATTORNEY GENERAL,S OFFICE; BRIAN R. MERFELD; MCCALLA RAYMER

PIERCE, LLC.; DEBRA BOGO - ERNST; MICHAEL BORNHORST; MAYER

BROWN; CHRISTOPHER L. GALLINARI; FLAHERTY & YOLINGERMAN, P.C.

and CHRISTOPHER E. RALPH have acted under the color of law when GOMEZ; UPB;

LOFTUS; PIERCE; FDIC; SHOREBANK; CHANG; C&T; EURICH; VCP; SCULLY

JR.; LYONS; SIMKO; CHICAGO; SWANSON JR.; MERS; NATIONSTAR;

CITIMORTGAGE; BEAR STEARNS 2OO7-HE6; FNM; US BANK; VARAK KS& N;

FREEMAN; MEYERSON; MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS;

COOK COI.INTY SHERIFF,S; PASQUESI; BABCOCK; HUBBARD; H R & O;

PIERCE; PERDEW; FENG; FLEISCHMANN; RAPPIN; ANDREW; KENNEDY;

MANETTI; PUGH; PASULKA- BROWN;P.I & J p.c.; ZECCHIN; CCAO;

CALLOWAY; IAGO; MERFELD; Mc R P LLC.; BOGO-ERNST; BORNHORST;

BROWN; GALLINARI; F & Y p.c. and RALPH deprived Marvin Faulkner of his

Constitutional Rights, as well as, violatingthe2"d,4tn, 5tnand 14th Amendments Rights

federal rights, properly interests and otherwise discriminated against Marvin Faulkner

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based upon the   illicit   acts by the   GOMEZ;UPB; LOFTUS; PIERCE; FDIC;

SHOREBANK; CHANG; C&T; EURICH; VCP; SCULLY JR.; LYONS; SIMKO;

CHICAGO; SWANSON JR.; MERS; NATIONSTAR; CITIMORTGAGE; BEAR

STEARNS 2OO7-HE6; FNM; US BANK; VARAK; KS& N; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS; COOK COI-INTY SHERIFF,S;

PASQUESI; BABCOCK; HUBBARD; H R & O; PIERCE; PERDEW; FENG;

FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH; PASULKA-

BROWN; P. J & J p.".; ZECCHIN; CCAO; CALLOWAY; IAGO; MERFELD; Mc R P

LLC.; BOGO-ERNST; BORNHORST; BROWN; GALLINARI; F & Y p.c. and RALPH

3.   As a direct and proximate result of GOMEZ; UPB; LOFTUS; PIERCE; FDIC;

SHOREBANK; CHANG; C&T; EURICH; VCP; SCULLY JR.; LYONS; SIMKO;

CHICAGO; SWANSON JR.; MERS; NATIONSTAR; CITIMORTGAGE; BEAR

STEARNS 2OO7-HE6; FNM; US BANK; VARAK; KS& N; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS; COOK COUNTY SHERIFF,S;

PASQUESI; BABCOCK; HUBBARD; H R & O; PIERCE; PERDEW; FENG;

FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH; PASULKA-

BROWN; P. J & J p.c.; ZECCHIN; CCAO; CALLOWAY; IAGO; MERFELD; Mc R P

LLC.; BOGO-ERNST; BORNHORST; BROWN; GALLINARI; F & Y p.c. and RALPH

Violation of 42 U.S.C. 51983, Marvin Faulkner has sustained injuries and/or damages.

          a.   The Plaintiff is targeted and harmed physically, by illness and

emotionally distress of the illicit plot by the Defendant(s).

          b.     The Plaintiff has suffered extreme financial damages as

aforementioned in thrs Verified Complaint.

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           c.   The Plaintiff believe that their telephones and computers are being tap

by the Defendant(s).Judge was hired by the State as an officer of the Court to protect the

public from injustice and did not.

4.   That continually from the period of 2008 and20l7 of this "Verified Complaint"

Defendants' plot to destroy the Plaintiff; because the Plaintiff preformed and exercised

their constitutional, State and local rights to defend themselves and their properties

against comrption against the Defendants, as aforementioned.

5.   The Defendant(s), herein, both directly and indirectly, individually and through its

agents, servants and employees, herein in this Count                  XI $1986 Conspiracy well knowing

its duty in this regard, under the color of law, carelessly and prior thereto, caused and

permitted said harm to become and remain against the Plaintiff.

6.   That during the period of 2008 thru2017 of this "Verified Complaint" Plaintiff filed

with the FBI, the Judicial Board, to the Circuit of Cook County, the United States District

Court for the Northem District of Illinois, Eastern Division for protection against the

Defendants on many occasions, Plaintiff had made aware to the Defendant(s) of the harm

and fear the Plaintiffs have of the Defendant(s).

7.   That the Defendants by its servants, agents and employees were then and there

guilty of one or more of the following harms, negligent acts and/or omissions:

     a).   Defendant(s) derivation of Plaintiff his Constitutional Rights, Privileges that

arelis secured by laws in a continuous manner plot/plotted against the Plaintiff to            fulfill

their conspiracy to defraud the Plaintiff Faulkner's and the Plaintiff Faulkner way of life.

     b).   Defendant(s) in their reckless and direct acts caused Plaintiff irreversible

harm, as set forth in this"Verified Complaint". (But, not limited to).

                              "   PlaintiffS Verified Complaint   -   Ovil RICO"
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8.   That by reason of the set forth in the "Verified Complaint" of paragraphs above as

result of the aforesaid intention and directly or indirectly, of the said Defendant(s), as a

result that, Plaintiff, Marvin Faulkner was caused to suffer diver's temporary and

permanent fear and harm to their way of life, bodies, financial depletion, their reputation,

their ability of life, liberly and the pursuant of happiness. Plaintiff has been and will be

prevented from attending to their usual affairs and duties and has lost and                will continue to

lose great gains they would otherwise have acquired.

9.   As a direct and proximate result of the GOMEZ; UPB; LOFTUS; PIERCE; FDIC;

SHOREBANK; CHANG; C&T; EURICH; VCP; SCULLY JR.; LYONS; SIMKO;

CHICAGO; SWANSON JR.; MERS; NATIONSTAR; CITIMORTGAGE; BEAR

STEARNS 2OO7.HE,6; FNM; US BANK; VARAK; KS& N; FREEMAN; MEYERSON;

MITCHELL; WHITE; ROWELL; SBZ&R; CODILIS; COOK COUNTY SHERIFF,S;

PASQUESI; BABCOCK; HUBBARD; H R & O; PIERCE; PERDEW; FENG;

FLEISCHMANN; RAPPIN; ANDREW; KENNEDY; MANETTI; PUGH; PASULKA-

BROWN; P. J & J p.c.; ZECCHIN; CCAO; CALLOWAY; IAGO; MEMELD; Mc R                                       P


LLC.; BOGO-ERNST; BORNHORST; BROWN; GALLINARI; F & Y p.c. and RALPH

violations of Faulkner's constitutional rights Faulkner has suffered severe and substantial

damages. These damages include loss of income, loss of benefits, loss of investments,

diminished earnings capacity, loss of career and business opportunities, litigation

expenses including attorney fees, loss of reputation, humiliation, intimidation,

embarrassment, inconvenience, mental and emotional anguish and distress and other

compensatory damages, in an amount to be determined by                    a   jury and the Court.

        WHEREFORE,              Plaintiff is requesting against the Defendant(s) and in
                              "PlaintiffS Verified Complaint   -   Ovil RICO"
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Favor of the Plaintiff in the amount of Five Million Seven Hundred Five Thousand Seven

Hundred Seventy-One Dollars and Eighty-Seven Cents ($5'705,771.87) in actual

damages. (ro nn DETERMINnn) in compensatory damages. Seventeen Million One

Hundred Seventeen Thousand Three Hundred Fifteen Dollars and Sixty-One cents

($17,117,315.61) in rreble damages and Forty Million Dollars ($40,000,000.00) in

punitive damases,' releasing Plaintiff, Marvin Faulkner, from harm by the defendant(s);

attorney's fees and costs (if applicable) and any other just remedy that this Honorable

Court believes is just and in favor of the Plaintiff.

IX.             DISCOVERY RULE AND FRAUDULENT CONCEALMENT

1.    Plaintiff hereby affirmatively pleads the discovery rule and would show that

Plaintiff s claims are not barred by limitations and accrued only when Plaintiff

discovered or, in the exercise ofreasonable diligence, should have discovered the facts

giving rise to their causes of action.

  a).   Plaintiff hereby affirmatively plead fraudulent concealment and would show that

Plaintiff s claims are not barred by limitations and accrued only when Plaintiff

discovered the Defendant(s)' fraudulent concealment of the facts giving rise to

PlaintifPs causes of actions.

IX.                  .TURY DEMAND

1.    Pursuant to Federal Rule of       Civil Procedure 38(b), Plaintiff(s) hereby demands               a


trial by jury on all issues triballtrial by jury.

         a).   Plaintiff request this     case be decided by              ajury, and the appropriate jury fee

has been paid by the   Plaintiff.

                                "   Plaintiff's Verified Complaint   -   Ovil NCO"
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x.                  REQUESTED RELIEF'

1.    Plaintiff request Defendants to be cited to appear and answer and that they

have judgment    for their damages, treble damages, punitive damages, costs, interest,

attorney's fees, relief under 18 USC $196a(a) and any other relief to which they may

show themselves entitled.

           a).   Due to additional information has been searched and not yet received     of

documents, exhibits and facts, not yet plead, herein. Plaintiff request additional time

to supplement andlor amended this "Verified Complaint". Additional title violations and

additional common law claims have not yet been inclusive of this "Verified Complainf'.

And, if discovery is not granted for any reason andlor request for dismissal of this

"Verffied Complaint" is requested by any party or entity of this matter and upon

Plaintiff s request; Plaintiff calls for dismissal of the "Verified Complaint" without

prejudice by this Honorable Court.

xI.                   CLAIM FOR RELIEF

1.     WHEREFOfu$ Plaintiff, Marvin Faulkner, on behalf of himself respectfully

request that the Court;

      A.   Enter judgments against each of the Defendant and in favor of the      Plaintiff

and each of the respective violations of RICO and Counts:    I; II; III and IV;

      B.   Award the Plaintiff actual ($5,705,771.87) and compensatory damages, trebled,

in an amount to be determined attrial;

      C.   Award the Plaintiff restitution or disgorgement of ill-gotten gains, as

appropriate;

      D.   Award the Plaintiff exemplary and/or punitive damages predicated on
                              " Plaintiffb Verified Complaint - Ovil RICO"

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Faulkner's claim for Obstruction of Justice; Conspiracy and Fraud, as allowed by law;

     E.   Award the Plaintiff costs of suit, including reasonable attorneys' fee, as

provided by law;

     F.   Award the Plaintiff prejudgment and post-judgment interest, as allowed by law

     G.   For appropriate declaratory relief regarding the unlawful and unconstitutional

acts and practices of the [Defendant/Defendants].

     H. For appropriate    equitable relief against all Defendants as allowed by the Civil

Rights Act of 1877,42 U.S.C. $1983, including the enjoining and permanent restraining

of these violations, and direction to the Defendants to take such affirmative action as is

necessary to ensure that the effects of the unconstitutional and unlawful practices are

eliminated and do not continue to affect the plaintiff              s.


     L    Award such further and additional relief as the Court deems just and proper.

XII.        NOTICED     ENIIUJS           TBUSUANT FEDERAL, STATE AND LOCAL LAWS

1.    Below is the list of noticed entities pursuant to Federal Law among others:

       A. U.S. JUSTTCE     DEPARTMENT (DOJ)

       B. LINITED     STATES MARSHALL

       c. FEDERAL BUREAU               OF TNVESTIGATION (F.B.I.)

       D. ASSISTANT ATTORNEYS GENERAL

       E. AMERICAN CIVI              LIBERTIES LINION (ACLU)

       F. And Others...

XII.               CLASS_ACTION (WITH EXCEPTION OF THE RICO COUNT(S))

l.    CLASS MENIBEI.S (whereas applicable\
                              "   Plaintiff? Verlfied Complaint   - Ovil RICO"
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      (a).       CLASS MEMBERS are past, present, and future United States of America

(USA) citizens who number over one million, live, andlor conduct business (in the past,

present, and/or future) in the USA, state of           Illinois, County of Cook, and City of Chicago.

      (b).       CLASS ONE - all past, present, and future A.frican-American citizen

of the USA and State of Illinois who number more than ten thousand. All are also

CLASS TWO members.

      (c).       CLASS TWO      -    all past, present, and future citizen of the USA and

of the State of Illinois who number more than ten thousand. Some are member of

CLASS ONE.

      (d).       Plaintiff is members of both Classes.

      (e).       The members of the Classes are so numerous that joiner of all members are

impractical. There are questions of "law" and'fact(,y' " common to the representative

the Plaintiff.

      (0.        The questions of   "law" and'fact(s)" common to the class members

predominate over any question affecting only claims of individual members.

      (g).       If individual actions were required to be brought by each class member,         a

multiplicity of suits would result, and would cause great and undue hardship to the parties

and the court(s).

      (h).       Therefore, a class-action complaint is superior to other available methods

for the fair and efficient adjudication of the controversy.

      (i).       The identity of all the class members are presently unknown to the named

Plaintiff, but can easily be determined from the past and present books and records of in

the United States of America, State of          Illinois, County of Cook, and City of Chicago;
                                "   Plaintiffb Verified Complaint   - Ovil RICO"
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such as state courts' files; public records; addresses and telephone records;      utility records;

state, county, and municipal records; census; social security; real estate property records;

and unemployment insurance records; but not limited thereto.

         (k).    There are questions      of "law" and "facts " common to the representative

parties and other members of the class and predominate over any question affecting only

individual members.

         0).     If individual actions were required to be brought by each member of the

class,   multiplicity of suits would result, causing great and undue hardship to the parties

and the court.

         (m).    Therefore, a class-action is superior to other available methods for the fair

and efficient adjudication of the controversy.



DATE:       June 07,2017

                                                Respectfully submitted,




                                                Marvin Faulkner, Plaintiff

                                                Marvin Faulkner, Plaintiff
                                                828 North Ridgeland Ave.
                                                Oak Park, Illinois 60302
                                                t.3t2.404.3757
                                                E-mail: mfaulkner@endj udicialcorruption. or g


                                         VERIFICATION
          Under penalties as provided by law, Marvin Faulkner, Plaintiff, states that he
has read the foregoing"Verified Complaint-Civil Rico" and on the basis of personal
knowledge, the review of relevant documentation and discussion with knowledgeable
                                "   Plaintiffs Veifted Complaint   - Ovil RICO"
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personnel certifies that the statements set forth therein are tue and correct, except as to
matters therein stated to be on information and belief and as to such matters, the
undersigned, on behalf of Plaintiff, certifies as aforesaid that the undersigned verily
believes the same to be true.




                              "   Plalntiffs   Wiftd   Complaint   -   Clvll RICO"
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                           EXHIBIT




                           PLAINTIFF'S

                            EXHIBIT A




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                                I.INITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


 MARVIN FAULKNER,             et al.,

                Plaintiffs,
                                                 Case   No. 16-cv-2432

                                                 Judge John W. Darrah
 ANNA M. LOFTUS, et al.,

                Defendants.

                          MEMORANDUM OPINION AND ORDER

       On July 11,2016, Plaintiffs filed a twelve-count, two-hundred-and-seventy-nine

paragraph, one-hundred-and-forty page Amended Verified Complaint [35], alleging violations

of, among others, the Racketeer Influenced and Comrpt Organizations Act ("RICO"), 18 U.S.C.

$ 1961, et seq.; 42 U.S.C. $ 1983; 18 U.S.C. $ 242;18 U.S.C. $ 2a9;42 U.S.C. $ 1981; 42

U.S.C. 1985; and 42 U.S.C. $ 1986. Plaintiffs name fifty different Defendants, including:

U.S. Bank National Association; Pierce & Associates, P.C.; Shorebank; Codilis & Associates,

P.C.; Jenner & Block LLP; Anna Loftus, Pamela Meyerson, Raymond Mitchell, George Scully,

Darryl Simko, Irwin Solganick, Alfred Swanson, and Alexander White, Chancery Court Judges

of the Circuit Court of Cook County (collectively, "Judicial Defendants"); Nationstar Mortgage

LLC; Chuhak & Tecson P.C.; Michael Eurich; Samantha Babcock; Urban Partnership Bank;

Federal National Mortgage Association; Starr, Bejgiert, Zink    & Rowells; Timothy L. Rowells;

the City of Chicago; Mortgage Electronic Registration Systems; Hauselman, Rappin & Olswang,

Ltd.; Sonia Pasquesi; Kovitz, Shifrin & Nesbit Law Offlrce; Bryan Gomez; and CitiMortgage,

Inc. All of the above-named Defendants filed Motions to Dismiss        140, 48,      51,76,95,98, 120,




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123,133,154,156,158, 161, 164,167,1691 or            a   Motion to Remand [128]. For the reasons

discussed below, Defendants' Motions are denied without prejudice with leave to re-file.

                                             BACKGROUND

       The following is a brief summary of the facts alleged in the Amended Verified Complaint

("AC"). Plaintiffs allege that Defendants are involved in a scheme to attack them for their

"aggressive filing of complaints and law suits [sic] against them." (AC'l]T70.) Defendant

ShoreBank filed for Chapter 11 Bankruptcy. Defendant Federal Deposit Insurance Corporation

("FDIC") then sold ShoreBank's        asserts to Defendant Urban Partnership      Bank. Plaintiffs allege

that Urban Partnership Bank then filed commercial foreclosure complaints on Plaintiffs' non-

commercial properties. Plaintiffs list either twenty-one or fifteen different properties affected by

these foreclosures. (AC   tTfl   76,89.) Plaintiffs further allege that ShoreBank's owner/president,

William Farrow, conspired with the FDIC to benefit from the transfer of ShoreBank's                assets to

Urban Partnership Bank. (AC 1190.)

       Plaintiffs also name several lawfirms and individuals        as   Defendants. Plaintiffs allege that

these Defendants participated to "cover-up [sic], divert, frustrate, shunt, mislead, ignore germane

factual legal arguments and factual evidence." (AC 1T91.) In addition to this cover-up, Plaintiffs

allege that Defendants are involved in a money-laundering scheme. (AC ''1T97.) As a result              of

this scheme, Plaintiffs filed complaints against law firms, attorneys, banks, and Circuit Court of

Cook County Judges. (AC fl 99.) After Plaintiffs filed these complaints, they were placed on a

"Judges' Hit List." (AC tTtT98, 99.)

       Plaintiffs' AC also contains class allegations. The two classes are defined as: "all past,

present, and future African[-]American citizens of the USA and State of           Illinois" and "all past,

present, and.future citizens of the USA and of the State of      Illinois." Plaintiffs   request
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94,905,711.87 in actual damages, an amount "to be determined" in compensatory damages,

$14,717315.61 in treble damages, and $40,000,000.00 in punitive damages. (AC1279.)

                                         LEGAL STANDARD

         Federal Rule of Civil Procedure 8 compels litigants to file a "short and plain statement       of

the claim showing that the pleader is entitled to relief." This requirement of brevity fosters two

goals: it allows trial courts to speed   a case   to resolution, and it allows a defendant to capably

respond to the allegations in the complaint. Hardy v.        Illinois Dep't of Corrections, Case No.

3:15-cv-00437-1PG,2015 WL 4573302, at *1 (S.D. Ill. July 29,2015) (citing United States ex

rel. Garst v. Lockheed-Martin Corp.,328 F.3d 374,378 (7th Cir. 2003). While            a   minor amount

of surplus material in a complaint is not enough to frustrate these goals and violate Rule      8,

unnecessary length coupled with repetitiveness, needless complexity, and immaterial allegations

can push a complaint past Rule 8's breaking point            in other words, it can make a "complaint
                                                         -
unintelligible" by "scattering and concealing in a morass of irrelevancies the few allegations that

matter." Id. (citing Kadamovas v. Stevens,706 F.3d 843,844 (7th Cir. 2013)). When faced with

that type of pleading, district judges have the power to dismiss the complaint and require a redo.

rd.

                                              ANALYSIS

         The AC in this case is one-hundred-and-forty pages in length. The factual background is

over fifty pages and one-hundred paragraphs. Many of the paragraphs have several sub-

paragraphs. The AC is verbose and includes several quotes from alleged conversations between

Plaintiff Faulkner and several individual Defendants.

         Plaintiffs list in detail the ways in which Defendants attempted to harm them. These

alleged harmful actions include: telling tenants at Plaintiffs' properties that Plaintiffs were no
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longer the owners of the properties, preventing the tenants from paying Plaintiffs rent, denying

Plaintiffs' motions to vacate judgments in other lawsuits, filing false complaints against them in

other legal proceedings, dismissing Defendants for lack ofjurisdiction, filing motions for

sanctions for malicious prosecution, arresting Plaintiff Faulkner and questioning him, and taking

Plaintiff Faulkner's finger and handprints. (AC'tTfl 100-176.) Plaintiffs' claim for relief is

repeated at least fourteen times. It is unclear whether the relief requested is the amount

requested each time, or whether    it is the amount requested for each of the twelve counts. While

the AC details several, but not all, of the Defendants' actions, it is not immediately clear how

these actions resulted in the violations alleged in the twelve counts. For example, Plaintiffs

allege that all of the Defendants engaged in a conspiracy to violate their Constitutional rights.

Plaintiffs do not detail how their Constitutional rights have been violated, stating that they were

"caused to suffer [diverse] temporary and permanent fear and harm to their way of life, bodies,

financial depletion, their reputation, their ability of life, liberty and the [pursuit] of happiness."

(AC fl 192.) This same allegation is repeated under almost every count. None of these

allegations appear to state a claim for any of the counts alleged.

        Numerous circuits have found that this type of complaint violates Rule 8. Lindell       v.


Houser,442F.3d 1033, 1034 n.1 (7th Cir. 2006) ("[Plaintiff s] complaint was probably

dismissable for not being 'simple, concise and direct' (see Rule 8(e) of the Federal Rules of Civil

Procedure). District courts should not have to read and decipher tomes disguised as pleadings.");

Lockheed-Mqrtin Corp.,328 F.3d at 378 ("Rule 8(a) requires parties to make their pleadings

straightforward, so that judges and adverse parties need not try to fish a gold coin from a bucket

of mud."); Haruisonv. Bd. of Regents of Univ.      Sys"   of Georgia,5l9 F. App'x   641,643 (llth
Cir. 2013) (eighty-two page complaint that took a "shotgun" approach to asserting claims



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violatedRule 8); Ruebv. Zavoras,37lF. App'x 982,986 (1OthCir.2010) (ninety-fivepage

complaint that discussed claims linked to other individuals and often "failed to mention a

specific time, place, or person involved with the alleged offenses" violated Rule 8).

                                          CONCLUSION

        For the reasons set forth above, Defendants' Motions to Dismiss 140,48,51,76,95, 98,

I20,123,133,154,156, 158, 161,164,167,1691and Motion to Remand [128]               are denied

without prejudice with leave to re-fiIe. Plaintiffs' Amended Verified Complaint is dismissed

without prejudice. Plaintiffs are granted leave to amend, if they can do so in strict compliance

with the letter and spirit of Rule 8 and pursuant to Rule 11, within thirty days of this Order.




Date:          March 6 2017
                                                              W. DARRAH
                                                        nited States District Court Judge
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                           EXHIBIT




                           PLAINTIFF'S

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                           UNrrno Sretns Drsrnrcr Counr
                     FoR THE   Nontnpnx Dlsrnrcr or llr.luots
                                 EesrpnN DrvrsroN

MARVIN FAULKNER and
SAMUEL UMUNNA,

             Plaintiffs,                            No. 16 C 02432

             v.
                                                    Judge Edmond E. Chang
ANNA LOFTUS, et al.

             Defendants.

                                       Onnpn

       This case has been randomly reassigned to this Court's docket. A status
hearing is set for May 3I, 2017 at 9 a.m., in order to track the filing of the
anticipated Second Amended Complaint and the Defendants' answers or dismissal
motions, as explained next.

        Second Amended Complaint, associated motions, and coordinated dismissal
motion. Plaintiffs' emergency motion [236] concerning the anticipated Second
Amended Complaint is denied in part and granted in limited part as to the
deadline. The Opinion entered by the previously assigned judge explains that the
(first) Amended Complaint was dismissed, without prejudice to filing a Second
Amended Complaint, because it violated Rule S(a)'s requirement that complaints
contain a "short and plain statement" of the claim. R. 235. The verbosity and length
of the 140-page Amended Complaint makes it impossible to discern precisely what
is being alleged and against whom, and whether any valid claims are embedded in
the pleading. R. 235. So the Opinion is not authorization to add new Defendants or
claims. Indeed, because Plaintiffs have already amended the complaint once, leave
must be obtained under Rule 15(a) for further amendments, and the Opinion clearly
envisions that Plaintiffs will reduce the sprawling nature of the allegations, rather
than add Defendants or claims. So the instruction to amend the current complaint
ts not authorization to add more parties or more claims.




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       For the same reasons, Plaintiffs' motion to amend complaint [201], motion to
add proposed defendants William Sullivan and Baseemah Dear 12231, and the
motions of Winifred Iherjirka to "intervene" f179, 182] are denied as well. The
intervention motion is really a motion to become a co-plaintiff, which in turn means
that the intervention motion is really a motion to amend the complaint. The Clerk's
Office shall terminate the appearance of Winifred Iherjirka as a movant from the
docketing caption.

       Plaintiffs' emergency motion also mentions dropping Defendants or claims.
That is up to the Plaintiffs. No Defendant has answered or moved for summary
judgment, so Plaintiffs may voluntarily d.ismiss a Defendant or claim under Federal
Rule of Civil Procedure a1(a)(1XA)(i), and they may do so by omitting them from the
Second Amended Complaint. For the sake of clarity, Plaintiffs should also file, at
the same time as filing the Second Amended Complaint, a notice of voluntary
dismissal specifying precisely which Defendants are being dismissed. Plaintiffs
should be aware, however, that a dismissal of a particular Defendant might be with
prejudice if any condition of Rule al(aX1)(B) applies.

       Plaintiffs' request, made in the emergency motion, for an extension to file the
Second Amended Complaint is granted to April 24, 2017, which is a firm deadline
given the length of time between the prior Opinion and that date. The Court warns
Plaintiffs, however, that even a glance at some of the claims in the Amended
Complaint reveal that they are frivolous, such as purporting to bring civil claims
under provisions of the federal Criminal Code, and asserting claims against state-
judge defendants who are judicially immune. Already one Defendant (the law firm
of Kovitz, Shifrin & Nesbit) has moved for sanctions [230], so Plaintiffs are
expressly on warning that they may face sanctions for frivolous fi.lings (after being
served with a copy of the Rule 11 motion as required, of course). In this context,
sanctions could mean that Plaintiffs would end-up owing a Defendant (or
Defendants) money for attorney's fees and costs. Having said that, in light of the
Rule 8(a) dismissal of the Amended Complaint, the Court denies the sanctions
motion [230], but without prejudice to refiling a version of the motion if the Second
Amended Complaint warrants RuIe 11 sanctions.

      With the Second Amended Complaint due on April 24, 2017, the answers or
dismissal motions of the Defendants are due on May 24, 20L7. But the anticipated
dismissal motions shall be coordinated to reduce overlapping arguments, much
like multi-party appeals have one joint brief and then individual briefs per party
only as needed. Specifically, all Defendants moving to dismiss shall file a single,
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combined motion to dismiss that lists each Defendant that is moving to dismiss
and a very concise statement of the grounds. For example:


         o    CitiMortgage: no jurisdiction under Rooher-Feldman: fails to state
              claim under 12(b)(6).
          .   City of Chicago: no jurisdiction under Rooher-Feldman; fails to state
              claim under 12(b)(6).
          .   Loftus, Meyerson, Mitchell, Scu1ly, Simko, Solganick, Swanson, White:
              no jurisdiction under Rooher-Feldman; absolute judicial immunity;
              fails to state claim under 12OXG).

And so on. In support of the combined, single motion, the defense shall file a joint
brief that presents arguments advanced by multiple sets of Defendants, such as
Rooher-Feldman. Each set of Defendants also may file an individual brief that
addresses arguments specific to them, such as Rule 12(b)(6) arguments challenging
the specific allegations against the particular Defendant (or set of Defendants). The
goal is to reduce, ultimately, the number of pages and repetition of arguments. The
Court is not trying to make it harder on either the Plaintiffs or the Defendants, so
the defense need not agonize over the dividing line.

        "Remoual" motions. Plaintiff Marvin Faulkner's "petition" for removal 1177,
 184] seeks to invoke federal-question jurisdiction to remove 2008 CH 1357, a state
case in the Circuit Court of Cook County. (R. 184 is just a re-noticed version of the
motion filed as R. L77.) The motions [177, 184] are denied for two reasons. First,
Faulkner mistakenly invokes federal-question jurisdiction, but there is no reason to
believe that a federal question appears on the face of the foreclosure complaint, as
distinct from defenses that Faulkner might want to assert in response to the
complaint. Second, the state court case was filed in 2008, so whether measure under
the 30-day removal time period, or the absolute bar of the l-year from
commencement time period for diversity jurisdiction (if there even is diversity
jurisdiction), the attempt to remove came too late. 28 U.S.C. S 1446(b)(1), (c)(1).

       Lyons and Pierce. The motion [2281 of Defendants Elizabeth Lyons and
Roderick Pierce to vacate any defaults is granted. In light of the dismissal of the
Amended Complaint, R. 235, and the anticipated Second Amended Complaint,
Plaintiffs are not prejudiced by vacatur of any defaults.
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       Miscellaneous. Docket entry 149 was Plaintiffs' extension motion to respond
to ShoreBank and.the FDIC's dismissal motion. In light of the response's filing, R.
192, and R. 149 is terminated as unnecessary. Docket entry 199 also dealt with the
timing of responses, and because of the anticipated Second Amended Complaint, R.
199 is also terminated as unnecessary.



                                                   ENTERED:


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DATE: March 13,20L7
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                           EXHIBIT




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                            EXHIBIT C




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                           EXHIBIT




                           PLAINTIFF'S

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                     FOR THE NOnrnpnN Drsrucr on Ilr,rNols
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MARVIN FAULKNER ANd
SAMUEL UMUNNA,

             Plaintiffs,                              No. 16 C 02432

             v.
                                                      Judge Edmond E. Chang
ANNA LOFTUS, et al.

             Defendants.

                                        Onnpn

      In addition to filing this  federal lawsuit, Plaintiffs Marvin Faulkner and
Samuel lJmunna sought to remove a state-court mortgage foreclosure case filed
against them, Cook County Circuit Court Case No. 2012-CH-38498. R. 123. Urban
Partnership Bank filed the foreclosure case in October 20L2. R. 128, Exh. 1 (state-
court complaint). Urban Partnership sought an order preventing the removal, R.
 128, but the motion was swept up in an order entered by the previously assigned
judge, R. 235, that denied both the removal petition and the motion to remand.

       Urban Partnership has renewed the motion to remand, and also seeks costs
and expenses for the improper removal. R. 241. Both the remand and the request
for costs and expenses are granted.

        With regard to the remand, just as with Faulkner's attempt to remove [177,
 184] another state-court case into this federal one, there is no subject matter
jurisdiction over the foreclosure case and, even if there were, the attempted removal
is untimely. On jurisdiction, diversity of citizenship does not apply (and Plaintiffs'
response does not seem to assert that it does), because all parties to the foreclosure
case are Illinois citizens. No federal question appears on the face of the state-court
complaint, so despite Plaintiffs' arguments that there are various federal statutory
 (and even, allegedly, constitutional) issues lurking in the foreclosure case, R. 256 at
 l-2, 4-5, removal cannot be premised on defenses not appearing on the face of the
complaint (nor does any exception to this general principle apply).



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      On timing, Plaintiffs did not remove the case until October 17, 2016. R. 123.
That is well over 30 days after service of the state-court complaint, which occurred
tn 2012, and even well over 30 days after the 2014 service dates that Plaintiffs rely
on as to amended complaints, see R. 246 at 5-6 (citing 2014 service dates). So the
attempted removal was untimely under 28 U.S.C. S 1446(b)(1), (b)(2)(B).

      Plaintiffs say,   in passing, that Urban Partnership's motion was itself
untimely, R. 246 at 6, but the initial motion was filed on October 26, 2016, R. 128,
just 9 days after the attempted removal. And after the mistaken denial of both the
removal petition and the remand order (both should not have been denied, one of
them had to be granted), Urban Partnership filed the reconsideration motion within
30 days of the double denial. Urban Partnership acted twice within the 30-day limit.
The foreclosure case must be remanded. The Court orders that Cook County Circuit
Court Case No. 2012-CH-38498, shall be remanded forthwith to the Circuit Court of
Cook County. The Clerk's Office shall mail a certified copy of this order of remand to
the state court, and the Clerk's Office shall not accept any further attempt to
remove that case to this federal case.

       With regard to costs and expenses, Section 1447(c) authorizes the imposition
of "just costs and any actual expenses, including attorney fees, incurred as a result
of the removal." Plaintiffs' response to Urban Partnership's argues only the merits
of the remand request, and does not offer an in-the-alternative argument against
the request for costs and fees. Because the attempted removal was frivolous, the
Court shall impose costs and attorney fees arising from the removal. But the costs
and fees shall be limited to the first round of briefing, namely, the preparation of R.
128. It would not be "just," $ 1447(c), to require Plaintiffs to pay for the costs and
fees arising from the reconsideration motion and reply, because that briefing was
really prompted by the Court's issuance of R. 235.

      To set the amount of costs and fees, Urban Partnership shall provide to
Plaintiffs the information in Local Rule 54.3(d)(1)-(3) by June 2, 2017. Urban
Partnership and Plaintiffs shall confer by June 9, 20t7. If no agreement on the
amount is reached, then Urban Partnership shall file a motion for costs and fees,




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with supporting exhibits, by June 16, 20L7. Plaintiffs may respond by June        30,
2017. Urban Partnership may reply by JuIy L0,2017.



                                                   ENTERED:


                                                         s/Edmond E. Chane
                                                   Honorable Edmond E. Chang
                                                   United States District Judge

DATE: May 18, 20L7
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                           EXHIBIT




                           PLAINTIFF'S

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRI T OF ILLINOIS, EASTERN DIVISION
Marvin Faulkner, et al.,                              Case No.: 15           C\/2432

                               Plaintiff,
v.                                                    Hon. Edmond E. Chang
Anna M. Loftus, et al.,                               Magistrate Judge Finnegan

                               Defendants.

                                   NOTICE OF FITING

TO: DEFENDANTS AND/OR THE A'ITORNEY OF RECORD: see "service List"

         PLEASE TAKE NOTICE  that on June t,2017 I filed with the Clerk of the
United States District Court, for the Northern District of lllinois, Eastern Division,
"ONE OF THE PIAINTIFFS' TUOTICE FOR VOLUNTARY RELEASE OF ALL
DEFENDANTS WITHOUT PREJ UDICE"

Respectively submitted,



SamuelC. Umunna
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Samuel C. Umunna, Plaintiff
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L-773-575-3630
E-mail: enviumunna@qmail.com

                                   CERFITICATE OF SERVICE

I hereby certifo   that    of the "ONE OF THE PLAINTIFFy NOTICE FOR VOLUNTARY RELEASE
                          a copy
OF AIL DEFENDANTS WITHOUT PRETUDICE" was served upon allcounselof record via ECF
andlor U.S Mail on 6/ful2ot7 of the defendants with thiscourt.
                                                                   ",!
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                              " SERVICE LIST"

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Meyerson; -Raymond W. Mitchell; -lrwin J. Solganick; -Alexander P. White; -MichaelOtto.

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Case: 1:17-cv-04286 Document #: 1 Filed: 06/07/17 Page 83 of 88 PageID #:83




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      IN THE UNITED STATES DISTRICT COURT FOR THE
      NORTHERN D]STRICT OF ILLINOIS, EASTERN DIVISION

      Maruin Faulkner, et al.,                                 Case No.: 15    C\|2432
                                Plaintiff,

     V.
                                                               Hon. Edmond E. Chang

     Anna M. Loftus, et al.,                                   Magistrate Judge Finnegan

                                Defendants.

     ,,ONE
          OF THE PLAINTIFFS' NOTICE FOR VOLUNTARY
     RELEASE OF ALL DEFENDANTS WITHOUT PREJUDICE'

            NOTICE lS HEREBY GIVEN that one of the Plaintiffs, Samuel C.
                                                                                Umunna, hereby
     voluntarily releases all defendants without prejudice without further notice.
                                                                                   The parties shalt
     bear their respective costs.




     June2,2OL7




     Respectively subm itted,




     SamuelC. Umunna

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     Chicago, lllinois 60643
     t-773-s75-3630
     E-mail: enviumunna@gmail.com
a   Case: 1:17-cv-04286 Document #: 1 Filed: 06/07/17 Page 88 of 88 PageID #:88




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     THE RIGO.DEFENDANTS IN {6 GV 2432ARE FORGING
     ME TO GO AGATNST YOU, SORRY; BUT I AM AFRAID
     AND WHAT EVER THEY TELL ME I HAVE TO DO.

     SAM.
